21-11298-lgb   Doc 24-5   Filed 08/19/21 Entered 08/19/21 15:22:12   Exhibit E
                                   Pg 1 of 56




                     EXHIBIT E
  21-11298-lgb      Doc 24-5   Filed 08/19/21 Entered 08/19/21 15:22:12             Exhibit E
                                        Pg 2 of 56




Loan No.
Title No.:



Premises:    286 Rider Avenue, Bronx, New York 10451
Block:       2333
Lot:         33
County:      Bronx
State:       New York




                          286 RIDER AVE ACQUISITION LLC


                                            In Favor of


                                BE-AVIV 286 RIDER LLC




                      MORTGAGE AND SECURITY AGREEMENT




                                                                                            =;
                                                    RETURN BY MAIL TO:


                                                    Wachtel Missry LLP                      v




                                                     885 Second Avenue, 47th Floor
                                                    New York, New York 10017
                                                    Attention: Eli D. Dweck, Esq.




                           009960-012/00205245-8    Mortgage      1
  21-11298-lgb         Doc 24-5    Filed 08/19/21 Entered 08/19/21 15:22:12         Exhibit E
                                            Pg 3 of 56


                         MORTGAGE AND SECURITY AGREEMENT


                                                       By


                             286 RIDER AYE ACQUISITION LLC


                                            For the benefit of


                                    BE-AVIV 286 RIDER LLC


THIS MORTGAGE AND SECURITY AGREEMENT is made this 19th day of September,
2019, by 286 RIDER AVE ACQUISITION LLC, a New York limited liability' company
having an address at 679 Driggs Avenue, Brooklyn, New York 1 121 1 (the "Mortgagor"! in favor
of BE-AVIV 286 RIDER LLC, a Delaware limited liability company having an office at 41
Wooster Street, 2nd Floor, New York, New York 10013 (the "Mortgagee"').

       WITNESSETH, that the Mortgagor is indebted to the Mortgagee for the payment of an
indebtedness in the principal sum of EIGHT MILLION AND                     00/100 ($8,000,000.00)
DOLLARS lawful money of the United States, to be paid, with interest thereon (as such sum
may be reduced from time to time, together with the interest thereon, hereinafter sometimes
collectively referred to and described as the "Debt"), according to a certain note or obligation
bearing even date herewith (which, as now exists, and as the same may hereafter, from time to
time be extended, amended, modified, restated or superseded, hereinafter collectively referred to
as the "Note").


       NOW THIS INDENTURE WITNESSETH that for better securing the payment of the
Debt, and the performance by the Mortgagor of the terms, covenants, conditions and obligations
contained herein, in the Note and in any other documents and agreements given to secure
payment of the Note according to the true intent and meaning thereof, and also for and in
consideration of one dollar to the Mortgagor in hand paid by the Mortgagee at or before the
sealing and delivery of these presents, and other good and valuable consideration, the mutual
receipt and legal sufficiency of which are hereby acknowledged, the Mortgagor has mortgaged,
granted, bargained, sold, aliened, released, conveyed and confirmed, and by these presents does
mortgage, grant, bargain, sell, alien, release, convey and confirm unto the Mortgagee, forever,
and grants the Mortgagee a security interest in:



                                    MORTGAGED PROPERTY


                  A.    All the land located in the County of Bronx, State of New York and
described in Schedule A annexed hereto and made a part hereof (the "Real Property") consisting
of that certain property known as 286 Rider Avenue, Bronx, New York 10451.


                  B.     All buildings, structures and improvements of every nature whatsoever
now or hereafter situated on the Real Property (the "Improvements").

TOGETHER with all and singular rights, hereditaments, and appurtenances belonging or in any
way incident or appertaining thereto, including, but not limited to:
                               009960-012/00205245-8        Mortgage   2
  21-11298-lgb       Doc 24-5     Filed 08/19/21 Entered 08/19/21 15:22:12             Exhibit E
                                           Pg 4 of 56


                C.      All fixtures, machinery, appliances, materials, equipment, furniture and
personal property of every nature whatsoever now or hereafter owned by the Mortgagor and
located in or on, or attached to, or used, or intended to be used, in connection with the operation
of, or with construction on, the Real Property or the Improvements, including all extensions,
additions, improvements, betterments, renewals and replacements to any of the foregoing and all
of the right, title and interest of the Mortgagor in and to any such personal property or fixtures
together with the benefit of any deposits or payments now or hereafter made by the Mortgagor or
on its behalf with regard thereto (the "Personal Property"') -


                D.      All right, title and interest of the Mortgagor, if any, in and to the land in
the bed of the streets or highways abutting the Real Property to the center line thereof; all
easements, rights of way, strips and gores of land, streets, ways, sidewalks, curbs, alleys,
passages, sewer rights, waters, water courses, water rights and powers, any air or development
rights appurtenant to the land or any portion thereof, and all estates, rights, titles, interests,
privileges, liberties, tenements, hereditaments, remainders, reversions and appurtenances
whatsoever, in any way belonging, relating or appertaining to the Real Property or the
Improvements, or which hereafter shall in any way belong, relate or be appurtenant thereto,
whether now owned or hereafter acquired by the Mortgagor (the "Appurtenances").


                E.     All leases, lettings, occupancy agreements and licenses (collectively, the
"Leases") of the Real Property and/or the Improvements or any part thereof now or hereafter
entered into and all right, title and interest of the Mortgagor thereunder (including, without
limitation, the cash and securities deposited thereunder), the right to receive and collect the rents,
issues and profits from the Leases (the "Rents") (subject to Mortgagor's rights granted in the
Assignment of Leases and Rents entered into between Mortgagor and Mortgagee of even date
herewith) and all the estate, right, title, interest, property, possession, claim and demand
whatsoever, at law as well as in equity, of the Mortgagor of, in and to, and all proceeds of any
sales or other dispositions of, the property described in Paragraphs (A), (B), (C) and (D) above
and this Paragraph (E).


                F.      All proceeds of and any unearned premiums on any insurance policies
covering the Improvements or the Personal Property or the Rents, including, without limitation,
the right to receive and apply the proceeds of any insurance, judgments or settlements' made in
lieu thereof.                                                                           ^   ;


                G.      All awards ("Awards"), heretofore made and hereafter to be made by any
municipal, state or federal authorities to the Mortgagor and all subsequent owners of the property
described above in Paragraphs (A) through (E) including any awards for any changes of grade of
streets affecting the property described above in Paragraphs (A) through (E) as the result of the
exercise of the power of eminent domain (a "Taking").                     •                     ,   ....


                H.      All the other estate, right, title, interest, use, possession, property, claim
and demand whatsoever, contract rights, general intangibles, actions and rights in action, relating
to the property described above in Paragraphs (A) through (G) and proceeds, products,
replacements, additions, substitutions, renewals and accessions of any of the foregoing...; ;


       All the property, interests and rights referred to in Paragraphs (A) through (H) above and
any additional property, interests or rights hereafter acquired by the Mortgagor and subject to the

                               009960-012/00205245-8   Mortgage       3
  21-11298-lgb      Doc 24-5        Filed 08/19/21 Entered 08/19/21 15:22:12           Exhibit E
                                             Pg 5 of 56

lien of this Mortgage or intended to be so are referred to in this Mortgage as the "Mortgaged
Property".


       TO HAVE AND TO HOLD the Mortgaged Property to the Mortgagee, its successors and
assigns, forever.


       The Mortgagor hereby grants to the Mortgagee a security interest in all rights and
property described above in Paragraphs (C) and Paragraphs (E) through Paragraph (H)
(collectively, the "Collateral").     This Mortgage shall constitute a self-operative Security
Agreement under Article 9 of the Uniform Commercial Code with respect to such rights and
property, but the Mortgagor agrees to execute and deliver on demand such other instruments as
the Mortgagee may request in order to create or perfect its security interest or to impose the lien
hereof more specifically upon any of such rights and property. Should an Event of Default (as
defined below in Section 4.1.1) occur and be continuing, the Mortgagor hereby appoints the
Mortgagee its agent and attomey-in-fact (which appointment shall be deemed to be an agency
coupled with an interest), with full power of substitution, to execute, deliver and file on its behalf
any UCC-1 financing statements, UCC-3 continuation statements and any other instruments
necessary to create or perfect the Mortgagee's security interest upon any of the Collateral granted
in this Paragraph. The Mortgagee shall have all the rights and remedies under this Mortgage, or
under any applicable law or agreements with the Mortgagor, of a Secured Party under the
Uniform Commercial Code in addition to those specified herein.


       And the Mortgagor covenants, represents and warrants with the Mortgagee that:

                                              ARTICLE I


                             TERMS, COVENANTS, CONDITIONS,
                          REPRESENTATIONS AND WARRANTIES


       The Mortgagor covenants, represents and warrants to the Mortgagee as follows:


        Section 1.1. Payment of Debt. The Mortgagor will pay the Debt as provided in the Note.


        Section 1.2. Maintenance of the Mortgaged Property and Compliance with Laws. The -
Mortgagor shall (at its expense in so far as is applicable by the context):


               (a)     maintain the Improvements in good and substantial order and repair and in
such fashion that the value and utility of the Mortgaged Property will not be diminished and will
make or cause to be made all necessary and appropriate repairs, replacements, and renewals
thereof, whether interior or exterior, structural or non-structural; all repairs, replacements and
renewals to be at least equal, in quality and class, to that of the original Improvements;


                (b)    not use or cause the whole or any part of the Mortgaged Property to be
used in such a manner as to cause the same to be subject to forfeiture under applicable laws. In
the event that any person or entity, in possession of the whole or any part of the Mortgaged
Property, or otherwise, may, by acts or omissions, cause the Mortgaged Property to be subject to
forfeiture, the Mortgagor, within five (5) days after receiving notice of the occurrence of any such
act or omission, shall notify the Mortgagee of the occurrence of such act or omission and shall


                              009960-012/00205245-8   Mortgage        4
  21-11298-lgb       Doc 24-5    Filed 08/19/21 Entered 08/19/21 15:22:12                Exhibit E
                                          Pg 6 of 56

commence such legal proceedings against the party committing or pennitting the acts or
omissions as shall be necessary to prevent such forfeiture;


               (c)     comply with, or cause to be complied with, all laws, statutes, codes, acts,
ordinances,   orders, judgments,    decrees,    injunctions, rules,   regulations,   permits,   licenses,
authorization, directions and requirements of all governments, departments, commissions,
boards, courts, authorities, agencies, officials and officers which may, as at the date of this
Mortgage or thereafter, affect the Mortgaged Property or any part thereof or its use or condition,
or which may affect any adjoining sidewalks, curbs, vaults and vault space if any, or streets or
ways in so far as the Mortgagor is required to comply therewith;


               (d)     comply with, or cause to be complied with, all requirements of the issuer
of any policy(s) of insurance covering or affecting the whole or any part of the Mortgaged
Property, and all orders, rules, regulations and other requirements of such governmental or
regulatory authorities having jurisdiction over the Mortgaged Property or any part thereof; and


               (e)     not do or permit any act or thing which is contrary to the requirements or
prohibitions of any document of record affecting the Mortgaged Property nor commit or permit
any waste of or any nuisance in, at or on the Mortgaged Property or any part thereof.


       Section 1.3. Alterations. None of the Improvements or any part or portion thereof, and
none of the Personal Property or any part or portion thereof, shall be removed, altered or
demolished except for any such removal, alteration or demolition carried out in accordance with
the construction plans approved by Mortgagee, without the prior written consent of the
Mortgagee in each instance, provided, however, that the Mortgagor shall have the right, without
the consent of the Mortgagee, to remove and dispose of, free from the lien of this Mortgage, such
Personal Property as from time to time may become worn out or obsolete, provided that,
simultaneously with or prior to such removal, any such Personal Property shall be replaced with
Personal Property of like kind and value at least equal to that of the replaced Personal Property
and free from any title retention, security interest or other encumbrance.


       Section 1.4. Taxes and Other Charges: Mortgage Taxes, (a) The Mortgagor has paid and
will pay when due (i) all liens of any kind, taxes of any kind and nature (including but not limited
to real and personal property taxes and income, franchise, withholding, profits and gross receipts
taxes), assessments, water and sewer charges, rents and rates, and other governmental or
municipal charges, fines or impositions relating to the Mortgaged Property or any part thereof,
and (ii) taxes upon the rents, revenues, income or profits of the Mortgaged Property, or taxes
arising in respect of the occupancy, use or possession of the whole or any part thereof, which, if
not paid, shall result in the imposition of a lien upon the Mortgaged Property, and the Mortgagor
will promptly deliver official receipts therefor to the Mortgagee.


               (b)     The Mortgagor will not claim any deduction from the taxable value of the
Mortgaged Property by reason of this Mortgage nor shall the Mortgagor claim or be entitled to
any credit against the principal and interest due and owing under the Note and this Mortgage for
any taxes, assessments, water rates or other governmental or municipal charges, bonds or
impositions paid by the Mortgagor relating to the Mortgaged Property.         .


               (c) . In the event of the passage after the date of this Mortgage of any law of the
state wherein the Mortgaged Property is located deducting from the value of land for the

                              009960-012/00205245-8    Mortgage        5
  21-11298-lgb        Doc 24-5    Filed 08/19/21 Entered 08/19/21 15:22:12            Exhibit E
                                           Pg 7 of 56

purposes of taxation any lien thereon, or changing in any way the laws for the taxation of
mortgages or debts secured by mortgages for state or local purposes, or the manner of the
collection of any such taxes so as to affect this Mortgage, or the Debt, the Mortgagee shall have
the right to give thirty (30) days written notice to the owner of the Mortgaged Property requiring
the payment of the Debt, and if such notice be given, the Debt shall become due, payable and
collectible at the expiration of said thirty (30) days. Unless prohibited by applicable law, any
notice given pursuant to this Subsection requiring the payment of the Debt shall provide an
option to the Mortgagor, in lieu of such acceleration, to either pay to the Mortgagee an amount or
amounts equal to any and all sums payable by the Mortgagee as taxes or otherwise by reason of
such laws including taxes, if any, payable on the amounts so paid to the Mortgagee or, in the
alternative, pay the Debt in hall. If the notice as provided above be given, the payment of said
sums described in the preceding sentence or the Debt, as may be the case, shall become due,
payable and collectible at the expiration of the thirty (30) day period referred to above.


                (d)     If at any time the United States of America, any state thereof or any
governmental subdivision of any such state, shall require (i) revenue or other stamps to be
affixed to the Note or this Mortgage, or (ii) the payment of any taxes or fees on this Mortgage, or
the Note or in connection with the recording of this Mortgage or any amendment, extension or
modification hereof, the Mortgagor will pay the same, with interest and penalties thereon, if any.


       Section 1.5. Reserve


       (a)      Tax and Insurance Deposits. The Mortgagor shall, deposit with the Mortgagee, on
             a monthly basis, 1/1 2th of the annual charges for ground or other rent, if any, real
             estate taxes, assessments, water, sewer (if not metered) and other charges which might
             become a lien upon the Mortgaged Property (or any part thereof) and insurance
             premiums, and the Mortgagor shall, accordingly, make such deposits.        All funds so
             deposited with the Mortgagee, if any, shall be held by it, but not in escrow and, except
             to the extent required by applicable law, without interest, and, provided that no "Event
             of Default" (as defined below in Section 4.1.1V shall have occurred and be
             continuing, shall be applied in payment of the charges aforementioned when and as
             payable, to the extent the Mortgagee shall have such funds on hand. Should an Event
             of Default occur and be continuing, the funds deposited with the Mortgagee, as
             aforementioned, may be applied in payment of the charges for which such funds shall
             have been deposited or to the payment of the Debt or any other charges affecting the
             security of the Mortgagee, as the Mortgagee sees fit, but no such application shall be
             deemed to have been made by operation of law or otherwise until actually made by
             the Mortgagee as herein provided, nor shall any application be deemed to affect any
             right or remedy of the Mortgagee hereunder or under any statute or rule of law. If
             deposits are being made with the Mortgagee, the . Mortgagor shall furnish the
             Mortgagee with bills for the charges for which such deposits are required to be made
             hereunder and/or such other documents necessary for the payment of same, at least
             fifteen (15) days prior to the date on which the charges first become payable.          -


       (b)       Interest Reserve. At the Closing of the Loan, Borrower shall deposit into a non-
             interest bearing account with Lender a portion of the principal amount of the Loan, in
             the amount equal to $980,000.00 (the "Interest Reserve"). Lender shall draw all
             interest payments from the Reserve for the first twelve (12) months of the Loan. In no
             event shall Lender be obligated to release funds from the Reserve account following

                               009960-012/00205245-8   Mortgage      6
  21-11298-lgb        Doc 24-5     Filed 08/19/21 Entered 08/19/21 15:22:12            Exhibit E
                                            Pg 8 of 56

            the occurrence of an Event of Default (as defined in the Note).         All funds in the
            Reserve account shall be pledged to Lender, as additional security for the payment of
            the Loan, and may be retained or applied by Lender, in Lender's sole discretion, upon
            the occurrence of an Event of Default and during the continuance thereof.


       Section 1.6.    Warranty of Title,    the Mortgagor represents and warrants that it is the fee
simple owner of the Mortgaged Property free of defects, liens, and encumbrances of any nature
other than those exceptions to title as set forth in the Mortgagee's title insurance policy or the
marked title insurance commitment delivered to the Mortgagee as of the date hereof and insuring
the lien of this Mortgage. The Mortgagor warrants that this Mortgage is and will be maintained
as a valid first lien on the Mortgaged Property subject only to the above-mentioned exceptions,
and will defend the same against the claims of all persons or entities whomsoever.            At the
Mortgagor's sole cost and expense, the Mortgagor forthwith upon the execution and delivery of
this Mortgage, and thereafter from time to time, will cause this Mortgage, and any security
instrument creating or evidencing the lien or security interest hereof upon the Mortgaged
Property and each instrument of further assurance, to be filed, registered or recorded in such
manner and in such places as may be required by any present or future law to publish notice of
and fully to protect the lien hereof upon, and the lien of the Mortgagee in, the Mortgaged
Property.


       Section 1.7.     Right of Mortgagee to Defend and Uphold the Lien: Costs,            (a)    The
Mortgagee shall have the right to appear in and defend any action or proceeding brought with
respect to the Mortgaged Property and to bring any action or proceeding, in the name and on
behalf of the Mortgagor, which the Mortgagee, in its sole discretion, believes should be brought
to protect its interest in or the title to the Mortgaged Property. The Mortgagee may take such
action by attorneys selected by the Mortgagee.


               (b)      If any action or proceeding be commenced, whether adversary or not
(including an action to foreclose this Mortgage or to collect the Debt), to which action or
proceeding the Mortgagee is made a party, or in which it becomes necessary to defend, uphold or
enforce the lien of this Mortgage, the Mortgagee may prosecute, defend or participate in such
action or proceeding by attorneys selected by the Mortgagee.


               (c)      All sums paid by the Mortgagee for the expense of any such action or
proceeding described in this Section including any appellate proceeding in connection herewith
(including without limitation, reasonable attorneys' fees and disbursements at trial and appellate
level) shall be paid by the Mortgagor to the Mortgagee, upon demand, together with interest from
the date that such sum is advanced, payment made or expense incurred, to and including the date
of reimbursement, computed at the default rate provided in the Note (the "Default Rate"). Any
such sum paid by the Mortgagee and the interest thereon shall be a lien on the Mortgaged
Property prior to any claim, lien, right, title or interest in, to or on the Mortgaged Property
attaching or accruing subsequent to the lien of this Mortgage, and shall be deemed to be secured
by this Mortgage and evidenced by the Note.


               (d)      In the event the maturity of the principal amount of the Debt shall be
accelerated by reason of a default under the Note, this Mortgage, or any other instrument given to
secure the payments provided to be made pursuant to the Note, in addition to the costs and fees
described above in Subsection (c), the Mortgagor shall pay to the Mortgagee, upon demand,
together with the interest thereon at the Default Rate, the fees and costs: actually incurred by the

                               009960-012/00205245-8   Mortgage       7
  21-11298-lgb        Doc 24-5    Filed 08/19/21 Entered 08/19/21 15:22:12           Exhibit E
                                           Pg 9 of 56

Mortgagee, following such acceleration, in obtaining an appraisal of the fair market value of the
Mortgaged Property prepared by an appraiser, duly qualified under applicable law and
governmental regulations to issue appraisals of real property to the Mortgagor in connection with
the approval of loans so secured, and the fees and costs actually incurred by the Mortgagee in
obtaining an Enviromnental Survey of the Mortgaged Property, as defined below in Subsection
1,22 (f). Upon reasonable notice to the Mortgagor, the Mortgagee, its officers, employees, agents
and contractors, may enter the Mortgaged Property to conduct the Environmental Survey. Any
such fees and costs paid by the Mortgagee and the interest thereon shall be a lien on the
Mortgaged Property prior to any claim, lien, right, title or interest in, to or on the Mortgaged
Property attaching or accruing subsequent to the lien of this Mortgage, and shall be deemed to be
secured by this Mortgage and evidenced by the Note.


       Section 1.8.    Insurance Coverage,       (a) The Mortgagor, until the Debt secured by this
Mortgage shall be fully paid and satisfied, shall keep, as applicable, the Mortgaged Property, the
Improvements and the Personal Property insured, by a company or companies and in fonn,
amounts and with coverage and deductibles satisfactory to Mortgagee, with at least the following
coverages:


(A)    comprehensive "special causes of loss" form of insurance (or its equivalent) on the
hnprovements and the Personal Property (I) in an amount equal to not less than one hundred
percent (100%) of the "Full Replacement Cost," which for purposes of this Mortgage shall mean
actual replacement value (exclusive of costs of excavations, foundations, underground utilities
and footings); (II) written on a replacement cost basis and containing either an agreed amount
endorsement with respect to the Improvements and Personal Property or a waiver of all co
insurance provisions; (III) providing for no deductible in excess of $10,000.00 for all such
insurance coverage; (IV) at all times insuring against at least those hazards that are commonly
insured against under a "special causes of loss" form of policy, as the same shall exist on the date
hereof, and together with any increase in the scope of coverage provided under such form after
the date hereof; and (V) if any of the hnprovements or the use of the Mortgaged Property shall at
any time constitute legal non-conforming structures or uses, providing coverage for contingent
liability from Operation of Building Laws, Demolition Costs and Increased Cost of Construction
Endorsements and containing an "Ordinance or Law Coverage" or "Enforcement" endorsement.
In addition, Mortgagor shall obtain: (y) if any portion of the Improvements is currently or at any
time in the future located in a "special flood hazard area" designated by the Federal Emergency
Management Agency, flood hazard insurance in an amount equal to the maximum amount of
such insurance available under the National Flood Insurance Act of 1968, the Flood Disaster
Protection Act of 1973 or the National Flood Insurance Reform Act of 1994, as each may be
amended; and (z) earthquake insurance in amounts and in form and substance reasonably
satisfactory to Mortgagee in the event the Mortgaged Property is located in an area with a high
degree of seismic risk, provided that the insurance pursuant to clauses (y) arid (z) hereof shall be
on terms consistent with the special causes of loss form required under this subsection (A);


               (B)      commercial general liability insurance against claims for personal injury,
bodily injury, death or property damage occurring upon, in or about the Mortgaged Property, with
such insurance (I) to be on the so-called "occurrence" form with a general aggregate limit of not
less than $2,000,000 and a per occurrence limit of not less than $1,000,000; (II) to continue at not
less than the aforesaid limit until required to be changed by Mortgagee in writing by reason of
changed economic conditions making such protection inadequate; arid (III) to cover at least the



                              009960-012/00205245-8    Mortgage      8
  21-11298-lgb         Doc 24-5     Filed 08/19/21 Entered 08/19/21 15:22:12                        Exhibit E
                                            Pg 10 of 56

following hazards: (1) premises and operations; (2) products and completed operations; (3)
independent contractors; and (4) contractual liability;


                 (C)     at all times during which construction, demolition repairs, soil testing or
alterations are being made with respect to the Improvements (i) Mortgagor shall carry owner's
liability insurance with limits of not less than $1,000,000                  per occurrence and      not less than
$2,000,000 in the aggregate covering claims related to renovation, construction and demolition
that may not be covered by or under the terms or provisions of the above mentioned (section 1.8
(B) commercial general liability insurance policy (including NY labor law claims, or any
property damage); and (ii) the insurance provided for in subsection (a) above written in a so-
called Builder's Risk Completed Value form (1) on a non-reporting basis, (2) against "special
causes of losses" insured against pursuant to subsection (i) above, (3) including pennission to
occupy the Mortgaged Property, and (4) with an agreed amount endorsement waiving co
insurance provisions; in addition all contractors engaged by Mortgagor should maintain a)
General liability insurance with limits of not less than $1,000,000 per occurrence and not less
than $2,000,000 in the aggregate; b) all contractors involved in any exterior work should
maintain additional excess coverage of $4,000,000 per occurrence, the General liability and
excess coverage should cover claims related to the work done by the contractor and should not
exclude NY labor law claims or contain a Hammer clause for work done by any independent
contractor or subcontractor, in addition Mortgagor and Mortgagee should be added as an
additional insured for ongoing and completed operations on a primary none contributory basis; c)
workers compensation with NY state statuary limits and d) Auto liability with CSL limits of
$1,000,000 and coverage shall include hired none owed auto liability coverage, contractor's
policies should have a provision that it waves subrogation to the Mortgagor and Mortgagee;


                 (D)     upon sixty (60) days' written notice, such other reasonable insurance and
in such reasonable amounts as Mortgagee from time to time may reasonably request against such
other insurable hazards which at the time are commonly insured against for property similar to
the Mortgaged Property located in or around the region in which the Mortgaged Property is
located.

                         (i)      With respect to the Policies required to be maintained pursuant to
clauses (A) through (D) above, Mortgagor shall use commercially reasonable efforts, consistent
with those of prudent owners of institutional quality commercial real estate, to maintain
insurance coverage against Losses resulting from acts of terrorism. _


                         (ii)     All insurance provided for herein shall be obtained under valid and
enforceable policies (collectively, the "Policies" or in the singular, the "Policy"), and shall be
subject to     the reasonable     approval   of Mortgagee        as     to    insurance      companies,   amounts,
deductibles, loss payees and insureds.         The Policies shall be issued by financially sound and
responsible insurance companies authorized to do business in the State and having a claims
paying ability rating of "BBB" or better by S&P and "Baa2" by Moody's (or such other ratings
promulgated from time to time by S&P and Moody's for properties and transactions similar in
type and size to the Mortgaged Property and the Loan) and/or a general policy rating of "A" or
better and a financial class of VIII or better by A.M. Best Company, Inc. The Policies described
herein     shall designate Mortgagee and its            successors     and    assigns   as    additional insureds,
mortgagees and/or loss payee as deemed appropriate by Mortgagee." Not less than ten (10) days
prior to the expiration dates of any insurance coverage in place with respect to the Mortgaged
Property, Mortgagor shall deliver to Mortgagee an Acord 28 or similar certificate, accompanied

                                009960-012/00205245-8       Mortgage            9
    21-11298-lgb    Doc 24-5       Filed 08/19/21 Entered 08/19/21 15:22:12            Exhibit E
                                           Pg 11 of 56

by evidence satisfactory to Mortgagee of payment of the premiums due in connection therewith
(the "Insurance Premiums"), and, as soon as available thereafter, certified copies of all renewal
Policies.


                       (iii)    Any blanket insurance Policy shall specifically allocate to the
Mortgaged Property the ainounL of coverage from time to time required hereunder and shall
otherwise provide the same protection as would a separate Policy insuring only the Mortgaged
Property in compliance with the provisions of Section 1.8(a).

                      (iv)   All Policies provided for or contemplated by Section 1.8(a), shall
name Mortgagor as the insured and Mortgagee as the additional insured, as its interests may
appear, and in the case of property damage, boiler and machinery, flood and earthquake
insurance, shall contain a standard non-contributing mortgagee clause in favor of Mortgagee
providing that the loss thereunder shall be payable to Mortgagee.

                       (v)      All Policies provided for in Section l.Sfal shall contain clauses or
endorsements to the effect that:

                                (A)      no act or negligence of Mortgagor, or anyone acting for
Mortgagor, or of any Tenant or other occupant, or failure to comply with the provisions of any
Policy, which might otherwise result in a forfeiture of the insurance or any part thereof, shall in
any way affect the validity or enforceability of the insurance insofar as Mortgagee is concerned;

                                (B)      the Policies shall not be materially changed (other than to
increase the coverage provided thereby) or canceled by the insurer without at least thirty (30)
days' (ten (10) days' in the case of non-payment of premium) prior written notice to Mortgagee
and any other party named therein as an additional insured;

                                (C)      the issuers thereof shall give written notice to Mortgagee if
the Policies have not been renewed thirty (30) days prior to its expiration; and



                                (D)      Mortgagee shall not be liable for any Insurance Premiums
thereon or subject to any assessments thereunder.


.                      (vi)     If at any time Mortgagee is not in receipt of written evidence that
all insurance required hereunder is in full force and effect, Mortgagee shall have the right,
without notice to Mortgagor, to take such action as Mortgagee deems necessary to protect its
interest in the Mortgaged Property, including, without limitation; obtaining such insurance
coverage as Mortgagee in its sole discretion deems appropriate: All premiums incurred by
Mortgagee in connection with such action or in obtaining such insurance and keeping it in effect
shall be paid by Mortgagor to Mortgagee upon demand and, until paid, shall be secured by the
Mortgage and shall bear interest at the Default Rate.


        (b)    In the event that any one or more' of the properties comprising any of the
Improvements or the Personal Property shall be damaged or destroyed, in whole or in part, by fire
or other casualty, the Mortgagor shall promptly restore, replace, rebuild or alter the damaged or
destroyed Improvements and Personal Property, in either case as nearly asL possible to the :
condition the Improvements and Personal Property were in prior to such damage or destruction,
without regard to the availability or adequacy of insurance proceeds and without regard to
                               009960-012/00205245-8   Mortgage       10
  21-11298-lgb         Doc 24-5    Filed 08/19/21 Entered 08/19/21 15:22:12           Exhibit E
                                           Pg 12 of 56
whether the Mortgagee shall make any insurance proceeds obtained by it available to Mortgagor
to pay for such work. If the damage be of such nature as to require the Mortgagor to construct a
replacement for, or to alter the damaged or destroyed items in any material or substantial way, the
Mortgagor shall, before commencing any such work,                submit to   the Mortgagee for the
Mortgagee's approval, which shall not be unreasonably withheld or delayed, copies of the plans
and specifications therefor to be prepared by an architect or engineer selected by the Mortgagor,
subject to the approval of the Mortgagee, who shall then be licensed by the state in which the
Mortgaged Property is located, and who shall have been placed in charge of the completion of
the repair and restoration of the Mortgaged Property as nearly as possible to the condition the
Mortgaged Property was in immediately prior to such casualty, with such alterations as may be
reasonably approved by Mortgagee.


        (c)      Until the full payment of the Debt, the Mortgagee shall have and hold the
insurance policies described in this Section as collateral and further security for the payment of
the Debt.     In default of the Mortgagor's compliance with this Section, (i) the Mortgagor hereby
agrees to indemnify and hold the Mortgagee harmless against all damage, loss or liability
resulting from all risks that would have been covered by such insurance to the extent of the
benefit which would have been received by the Mortgagee had the insurance coverage required to
be obtained under this Subsection been obtained and maintained by the Mortgagor as required
hereunder and (ii) the Mortgagee or its successors or assigns may, but shall have no obligation to,
place such insurance as described above, from time to time, in an amount in the aggregate not
exceeding the amount of insurance required to be obtained under this Section, for the purpose
aforesaid, and pay the premium or premiums therefor.             In the event of such payment, the
Mortgagor will pay to the Mortgagee, its successors or assigns such premium or premiums so
paid by the Mortgagee, upon demand, together with interest from the date that such sum is
advanced, payment made or expense incurred, to and including the date of reimbursement,
computed at the Default Rate.      Any such sum paid by the Mortgagee and the interest thereon
shall be a lien on the Mortgaged Property prior to any claim, lien, title or interest in, to or on or
claim upon the Mortgaged Property attaching or accruing subsequent to the lien of this Mortgage
and shall be deemed to be secured by this Mortgage and evidenced by the Note.         In addition, in
the event of a default of such payment by the Mortgagor or of the delivery of policies as provided
above in this Section, the Debt shall, at the option of the Mortgagee, its successors or assigns,
immediately become due and payable.


        (d)      The insurance required pursuant to this Section may be effected by a policy of
blanket insurance which may cover property in addition to the Mortgaged Property, provided that
the coverage shall be the same as if the Mortgaged Property were the sole property insured and
the Mortgagor shall deliver to the Mortgagee a duplicate original copy or copies thereof or
original insurance certificates therefor.                                      -


        Section 1.9.    Insurance Proceeds,     (a) The Mortgagor shall give the Mortgagee prompt
notice of any damage or destruction by fire or casualty occurring at the Mortgaged Property and
the Mortgagor shall make such temporary repairs as are necessary for the protection of the
Improvements.      The proceeds of any insurance paid on account of any damage or destruction to
the Mortgaged Property shall be paid over to the Mortgagee to be applied as hereinafter provided.
In the event any such insurance proceeds shall be paid to the Mortgagor or by two-party check               :
delivered to the Mortgagor, the Mortgagor shall forthwith. pay such insurance proceeds to the           :
Mortgagee, or endorse such two-party check and deliver it to Mortgagee (as the case may: be),
and the Mortgagor shall be personally liable for any such insurance proceeds not paid to the

                              009960-012/00205245-8   Mortgage       11
  21-11298-lgb       Doc 24-5     Filed 08/19/21 Entered 08/19/21 15:22:12            Exhibit E
                                          Pg 13 of 56

Mortgagee, notwithstanding any exculpation provision contained in this Mortgage or in any other
Loan Document (as defined in Section 4.1.1(h) of this Mortgage).


               (b)     If by reason of any Damage any sums are paid under any insurance policy
hereinabove mentioned or contemplated, such sums shall be paid as follows:     If the aggregate
insurance proceeds received by reason of any single instance of Damage shall be $5,000.00, or
less, such insurance proceeds shall be paid over to the Mortgagor, who shall hold the same as a
trust fund to be used first for the payment of the entire cost of the Restoration, and the balance,
shall, at the option of the Mortgagee, be retained by the Mortgagor or be paid to the Mortgagee in
reduction of the Debt; provided, however, that if the Mortgagor shall, at that time, be in default
under this Mortgage beyond any applicable grace period, such proceeds shall be paid over to the
Mortgagee and shall be applied first to the payment of interest accrued to the date of payment on
the Debt and the balance in reduction of the principal portion thereof.


               (c)     If the aggregate insurance proceeds to be received by reason of any single
instance of Damage shall be more than $5,000.00, all such proceeds shall be paid to the
Mortgagee, and each such insurance company concerned is hereby authorized and directed to
make payment of such loss directly to the Mortgagee instead of the Mortgagor. The Mortgagee
shall have the option, in its sole discretion, to apply any insurance proceeds it may receive by
reason of damage or destruction to the Mortgaged Property toward payment of the Debt, or the
same may be paid over either wholly or in part to the Mortgagor or to the heirs, successors or
assigns of the Mortgagor for the repair of the Improvements and Personal Property or for the
erection of new Improvements and the acquisition and installation of new Personal Property in
their place, or for any other purpose or object satisfactory to the Mortgagee, and, if the Mortgagee
shall receive and retain insurance money for such damage to the Mortgaged Property, the lien of
this Mortgage shall be affected only by a reduction of the amount of said lien by the amount of
such insurance money received and retained by the Mortgagee and applied toward payment of the
obligations secured hereby. Notwithstanding anything set forth herein or in the Note, the
application of all or part of any insurance proceeds toward payment of the Debt shall not be
considered a prepayment of the Debt and shall not be subject to any prepayment premiums or
penalties (if any are provided for under the Note) in connection therewith.


              (d)      The Mortgagee and its officers, employees and agents may inspect the
Mortgaged Property from time to time to determine the Mortgagor's compliance with this
Subsection.


       Section 1.10. Condemnation, (a) The Mortgagor shall give the Mortgagee prompt notice
of any condemnation or eminent domain proceedings affecting the Mortgaged Property.


               (b)     The Mortgagor will not enter into any agreement for a Taking of the
Mortgaged Property, or any part thereof, without the prior written consent of the Mortgagee.


               (c)     In the event the whole or any part of the Mortgaged Property shall be the,
subject of a Taking, or shall be voluntarily conveyed in lieu thereof prior to the payment in full of
the Debt, the Mortgagor shall pay to the Mortgagee, during the period from the date of a Taking
(or conveyance in lieu thereof) to the payment in full of the Debt, the difference, if any, between
the interest payable thereon at the rate stipulated in the Note in respect of the Debt and the
interest actually paid to the Mortgagor by the entity exercising the right of eminent domain or to
whom the Mortgaged Property was conveyed in lieu of the exercise of such power.

                             009960-012/00205245-8   Mortgage       12
  21-11298-lgb          Doc 24-5     Filed 08/19/21 Entered 08/19/21 15:22:12               Exhibit E
                                             Pg 14 of 56




                  (d)       All Awards are hereby assigned to the Mortgagee. The Mortgagee and its
legal representatives, successors and assigns (at its or their option) are hereby irrevocably
authorized and empowered to collect and receive the Awards from the authorities making the
same, to give proper receipts and acquittances therefor in any of their names or in the name of the
Mortgagor, and to apply the same toward the payment of the Debt, the Note or this Mortgage, in
such priority and proportions as the Mortgagee in its discretion shall deem proper, although the
Debt secured by this Mortgage then may not be due and payable.                If the Mortgaged Property is
sold, through foreclosure or otherwise, prior to the receipt by the Mortgagee of any Awards, the
Mortgagee shall have the right, whether or not a deficiency judgment on the Note shall have been
sought, recovered or denied, to receive any Awards, or a portion thereof sufficient to pay the
Debt, whichever is less.           Notwithstanding anything set forth herein or in the Note, the
application of all or part of any Awards toward payment of the Debt shall be considered a
prepayment of the Debt and shall not be subject to any prepayment premiums or penalties (if any
are provided for under the Note) in connection therewith.


                 (e)        Notwithstanding any Taking, the Mortgagor shall continue to pay the Debt
at the time and in the manner provided for in the Note and in this Mortgage and the Debt shall
not be reduced until any Awards shall have been actually received and applied by the Mortgagee
to the discharge of the Debt. The Mortgagor shall file and prosecute its claim or claims for any
Awards in good faith and with due diligence and cause the same to be collected and paid over to
the Mortgagee. The Mortgagor, further, hereby irrevocably appoints the Mortgagee and its
officers and employees the attorney-in-fact of the Mortgagor, coupled with an interest, to file,
prosecute, settle, and compromise its claims for any Awards, to receive any Awards and to
endorse any instruments with respect thereto.           The Mortgagor further agrees that although it is
hereby expressly agreed that the same shall not be necessary in any event, the Mortgagor shall,
upon demand, of the Mortgagee, make, execute and deliver to it any and all assignments and
other instruments sufficient for the purpose of assigning any Awards to the Mortgagee, free, clear
and discharged of any encumbrances of any kind or nature whatsoever.


        Section 1 . 1 1 .   Restrictions on Sales and Transfers. The Mortgagor shall not, without the
consent in writing of the Mortgagee, voluntarily change the use of the Mortgaged Property or
sell, transfer, or convey its interest in the Mortgaged Property, or any part thereof in or by any
one or series of transactions or permit the Mortgaged Property, or any part thereof or any interest
therein to be sold, transferred, divided or conveyed.            For the purposes of this Section a "sale"
shall include: (I) if the Mortgagor is a corporation, an aggregate of not more than nineteen (19%)
percent or more of its voting shares of stock may be sold, transferred, issued or pledged, in any
one or series of transactions; or, (II) if the Mortgagor is a partnership, limited liability company,
joint venture or similar entity, an aggregate of not more than nineteen (19%) percent or more of
the interest or interests in the Mortgagor be issued, sold, transferred or pledged or the majority of
the interests therein be transferred or diluted by the admission of new partners, members or
otherwise, in any one or series of transactions. Consent to one such transaction shall not be
deemed to be a waiver of the right to require such consent to further or successive transactions.

                                        009960-0 12/00205245-8Mortgage 13
  21-11298-lgb         Doc 24-5   Filed 08/19/21 Entered 08/19/21 15:22:12                 Exhibit E
                                          Pg 15 of 56




       Notwithstanding the foregoing, Lender's consent shall not be required in connection with
the following:


 (a)   provided no Event of Default shall then exist, gifts by the indirect owners of borrower
parties for estate planning purposes of their indirect interests in Borrower or in any of borrower
party's indirect partners, members or joint venturers to a revocable inter vivos trust having such
natural person as both trustor and trustee of such trust and one or more immediate family
members of such natural person as the sole beneficiaries of such trust, provided that after giving
effect to such transfer, the transferor retains control over such inter vivos trust; and


(b)     the transfer of publicly traded shares on a nationally or internationally recognized stock
exchange in any indirect equity owner of Borrower; and


(c)     the transfers among existing members of Borrower; and


(d)   any transfer(s) of up to forty-nine percent (49%) in the aggregate (for all such transfers
from and after the Closing Date) of the non-controlling indirect interest in Borrower or Sole
Member to anyone who is not an Embargoed Person.


        Section 1.12.   Restrictions on Leasing and Further Encumbrances. The Mortgagor shall
not, without first obtaining the prior consent of the Mortgagee in each such instance:


                 (a) mortgage, convey or grant a lien subordinate to this Mortgage on the
Mortgaged Property, or on any or all of the Real Property, hnprovements, Personal Property or
Appurtenances of which it is comprised except to the Mortgagee;


                 (b)   collect any Rents for a period of more than one month in advance other
than the security deposited in connection with a Lease;


                 (c)     further pledge, transfer, mortgage or otherwise encumber or assign the
Leases and Rents except to the Mortgagee;


                 (d)  waive, excuse, condone, discount, set-off, compromise, cancel, terminate
or in any manner release or discharge, any tenant under any Lease, of and from any obligations,
covenants and agreements by said tenant to be kept, observed and performed, including the
obligation to pay rent thereunder, in the manner and at the place and time specified therein;


                 (e)     cancel, tenninate or consent to any surrender of any Lease, except as may
be provided in any such Lease, or commence an action of ejectment or any summary proceedings
for dispossession of the tenant under any Lease or execute any right to recapture provided in any
Lease where such action, in the sole discretion of the Assignee, would have a material adverse
effect on the value and/or the marketability of the Premises;

                                     009960-012/00205245-8Mortgage 14
  21-11298-lgb        Doc 24-5    Filed 08/19/21 Entered 08/19/21 15:22:12               Exhibit E
                                          Pg 16 of 56




                (f)     execute or permit to exist any Lease except for occupancy by the lessee
under and pursuant to a written lease in form and substance satisfactory to the Mortgagee and
with a lessee satisfactory to Mortgagee where such lease, in the sole discretion of the Mortgagee,
would have a material adverse effect on the value and/or the marketability of the Mortgaged
Property;   -


                (g)     modify, amend, extend or renew any Lease, or pennit the lessee under any
Lease to assign the tenancy thereunder unless such lessee has such right of assignment under its
lease without the necessity of obtaining Mortgagor's consent thereto where such action, in the
sole discretion of the Mortgagee, would have a material adverse effect on the value and/or the
marketability of the Mortgaged Property;


                CO      relocate any tenant under any Lease, nor consent to any modification of the
express purposes for which such space has been leased, nor consent to any subletting of all or any
portion of the Mortgaged Property, or to an assignment of any Lease or a further subletting of any
sublease, except as may be provided in any Lease where such action, in the sole discretion of the
Mortgagee, would have a material adverse effect on the value and/or marketability of the
Mortgaged Property;


                (i)     consent or agree to accept a subordination of any Lease to any mortgage or
other encumbrance (other than this Mortgage) now or hereafter affecting the Mortgaged Property;


                (j)     create or pennit to exist any easement or restrictive covenant affecting the
Mortgaged Property.


Consent to one such transaction shall not be deemed to be a waiver of the right to require such
consent to future or successive transactions.


       Section 1.13,    Liens.   The Mortgagor shall discharge of record, by the filing of a bond
pursuant to court order or otherwise, any mechanic's or materialmen's lien or a judgment lien
filed against the Mortgaged Property, within sixty (60) days after the filing thereof.          .


   ;   Section 1.14.    No Recorded Restrictions Based on Race. Etc.       The Mortgagor shall not
execute or file or record any instrument which imposes a restriction upon the sale or. occupancy
of the Mortgaged Property on the basis of race, sex, religion, national origin, color or creed.
Upon any violation of this undertaking, the Mortgagee may, at its option, declare the unpaid
balance of the Debt to be immediately due and payable.


       Section 1.15. Organization. Mortgagor is a limited liability company which is, and at all
times shall be, duly organized, validly existing, and in good standing under and by virtue of the
laws of the State of [Delaware]. Mortgagor is duly authorized to transact business in all other -
states in which Mortgagor is doing business, having obtained all necessary filings, governmental ^

                                     009960-012/00205245-8Mortgage 15                                '   '
  21-11298-lgb      Doc 24-5       Filed 08/19/21 Entered 08/19/21 15:22:12           Exhibit E
                                           Pg 17 of 56




licenses and approvals for each state in which Mortgagor is doing business. Specifically,
Mortgagor is, and at all times shall be, duly qualified as a foreign LLC in all states in which the
failure to so qualify would have a material adverse effect, on its business or financial condition.
Mortgagor has the full power and authority to own its properties and to transact the business in
which it is presently engaged or presently proposes to engage. Mortgagor maintains an office at
the address set forth in the preamble to this Mortgage. Unless Mortgagor has designated
otherwise in writing, the principal office is the office at which Mortgagor keeps its books and
records including its records concerning the Collateral. Mortgagor may not change the location
of Mortgagor's state of organization or any change in Mortgagor's name. Mortgagor shall do all
things necessary to preserve and to keep in full force and effect its existence, rights and
privileges, and shall comply with all regulations, rules, ordinances, statutes, orders and decrees of
any governmental or quasi-governmental authority or court applicable to Mortgagor and
Mortgagor's business activities.


       Section 1.16.   Usury. Nothing herein or in the Note, and none of the terms, covenants,
conditions or obligations hereof or thereof shall impose or shall be deemed to impose upon the
Mortgagor an obligation to make any payment, pay any interest or late charges in excess of, or do
any act or take any action, or forbear from doing any act or taking any action, in violation of any
statute, rule, ordinance or regulation in effect and effective as of the date of such payment, act,
action or forbearance. In no event shall the Mortgagor be required to make any such illegal or
impermissible payment or to take or do any such illegal or impermissible act or forbear from so
doing or so taking nor shall any such failure so to pay or act or such forbearance be deemed a
default hereunder. If the provisions of this Mortgage would at any time otherwise require
payment by the Mortgagor to the Mortgagee of an amount of interest in excess of the maximum
amount then permitted by law, the interest payments to the Mortgagee shall be reduced to the
extent necessary so that the Mortgagee shall not receive interest in excess of such maximum
amount. To the extent that, pursuant to the foregoing sentence, the Mortgagee shall receive
interest payments hereunder in an amount less than the amount otherwise provided, such deficit
(the "Interest Deficit") will accumulate and will be carried forward (without interest) until the
Debt is paid in full. Interest otherwise payable to the Mortgagee hereunder for any subsequent
period shall be increased by the maximum amount of the Interest Deficit that may be so added
without causing the Mortgagee to receive interest in excess of the maximum amount then
permitted by law. The terms, covenants, conditions and obligations hereof or of the Note
requiring any. such illegal or impermissible payment, act, action or forbearance on the part of the
Mortgagor to be made or taken are deemed amended, modified or altered in such a manner as to
bring all and each of them into conformity with the applicable statutes, rules, ordinances or
regulations in respect of the Mortgagor and the Mortgagor hereby covenants and agrees to abide
by, conform to and comply with any and all such terms, covenants, conditions and obligations as
so amended, modified or altered.


       Section 1.17. Payment of Charges: Advances and Disbursements: Costs of
                        Administration and Enforcement.


                                     009960-012/00205245-8Mortgage 16
  21-11298-lgb       Doc 24-5     Filed 08/19/21 Entered 08/19/21 15:22:12             Exhibit E
                                          Pg 18 of 56




               (a)     Upon default of the Mortgagor in the performance of any term, covenant,
condition or obligation by the Mortgagor to be performed under the Note or this Mortgage, or to
pay, when due, any of the sums which the Mortgagor is required to pay as provided above in
Section 1.4, the Mortgagee may, but shall not be obligated to, cure such default, or make such
payment in the name and on behalf of the Mortgagor.              All sums advanced and all expenses
actually incurred at any time by the Mortgagee pursuant to this Section 1.17 or as otherwise
provided under the terms, covenants, conditions or obligations of this Mortgage or under
applicable law shall be reimbursed by the Mortgagor to the Mortgagee, upon demand, and shall
bear interest from the date that such sum is advanced, payment made or expense incurred, to and
including the date of reimbursement, computed at the Default Rate. Any such sum paid by the
Mortgagee and the interest thereon shall be a lien on the Mortgaged Property prior to any claim,
lien, right, title or interest in, to or on the Mortgaged Property attaching or accruing subsequent to
the lien of this Mortgage, and shall be deemed to be secured by this Mortgage and evidenced by
the Note.


                (b)    The Mortgagor shall bear and pay all direct and incidental expenses
(including, without limitation, reasonable attorneys' fees and disbursements for legal services of
every kind at trial and appellate level) relating to the administration of this Mortgage and the
other Loan Documents (as defined in Section 4.1.1(h) of this Mortgage) including, without
limitation, the performance of new appraisals of the Mortgaged Property necessitated by (i) the
Mortgagee's credit policy guidelines applicable to mortgage loans made by Mortgagee or (ii) any
regulatory requirements imposed upon Mortgagee by any governmental or quasi-governmental
entity having jurisdiction over Mortgagee. All such expenses paid by the Mortgagee shall be
reimbursed by the Mortgagor to the Mortgagee, upon demand, and shall bear interest from the
date that such sum is advanced, payment made or expense incurred, to and including the date of
reimbursement, computed at the Default Rate. Any such sum paid by the Mortgagee and the
interest thereon shall be a lien on the Mortgaged Property prior to any claim, lien, right, title or
interest in, to or on the Mortgaged Property attaching or accruing subsequent to the lien of this
Mortgage, and shall be deemed to be secured by this Mortgage and evidenced by the Note.


        Section 1.18. Assignment of Leases and Agreements.


              (a)     Neither the Mortgagor nor any tenant under any Lease shall have the right
or power, as against the Mortgagee without its consent, to cancel, abridge or otherwise modify
tenancies, subtenancies, leases or subleases now or hereafter in effect in respect of all or any part
of the Mortgaged Property or the Improvements or to accept or make, as the case may be,
prepayments of installments of rent to become due thereunder. The Rents of the Mortgaged
Property are hereby transferred and assigned to the Mortgagee, and the Mortgagee shall have the
right to enter upon the Mortgaged Property for the purpose of collecting the same and to let and
operate the Mortgaged Property or any part thereof and to apply the Rents, either in whole or in
part, as the Mortgagee elects, to the payment of all charges and expenses of the Mortgaged;
Property or in reduction of any part of the Debt or other sums due or to become due under the            -
Note or this Mortgage. This assignment and grant shall continue in effect until the Debt and all

                                    009960-0 12/00205245-8Mortgage 17                            ; .
  21-11298-lgb       Doc 24-5     Filed 08/19/21 Entered 08/19/21 15:22:12               Exhibit E
                                          Pg 19 of 56




other obligations secured by this Mortgage are paid if full.           The Mortgagee hereby waives the
right to enter upon the Mortgaged Property for the purpose of collecting the Rents and the
Mortgagor shall have a. license to collect and receive the Rents until an Event of Default
hereunder, but such license of the Mortgagor may be revoked by the Mortgagee upon any such
Event of Default.    From and after the occurrence of an Event of Default hereunder all Rents
collected or received by Mortgagor shall be accepted and held for Mortgagee in trust and shall
not be commingled with the funds and property of Mortgagor, but shall be promptly paid over to
Mortgagee. The Mortgagee may apply all Rents or any part thereof so received hereunder, after
the payment of all of its expenses including costs and attorneys' fees, to the Debt in such manner
as it elects or at its option the entire amount or any part thereof so received may be released to the
Mortgagor.


               (b)      All future commercial Leases entered into after the execution of this
Mortgage for the whole or any part of the Mortgaged Property shall contain the following
provision:


               "Tenant/Lessee hereby agrees not to look to the mortgagee of (i)the
               fee interest in the premises demised by this Lease or (ii) the lease
               to which this Lease is subordinate, in such mortgagee's capacity as
               mortgagee, mortgagee in possession,          successor in title to such
               interest, or otherwise, for accountability for any security deposit
               required by the landlord hereunder, unless said sums have actually
               been received by said mortgagee as security for the tenant's
               performance of this Lease."


       Section 1.19.    Inconsistency With Related Laws.          Nothing contained in this Mortgage
shall be construed as depriving the Mortgagee of any right or advantage available under
applicable law of the state in which the Mortgaged Property is located, but all terms, covenants,
conditions or obligations herein differing therefrom shall be construed as conferring additional
and not substitute rights and advantages.


       Section 1.20. Right of Inspection. The Mortgagee and its agents shall have the right to
enter and inspect the Mortgaged Property at all reasonable times upon reasonable notice, and the
Mortgagor shall reimburse the Mortgagee for each such inspection the sum of $500.00.


       Section 1.2 i.   Late Charges. In the event that any payment shall become overdue for a
period in excess of ten (10) days or such payment cannot be debited on its due date (if
applicable), a "late charge" of five (5%) percent, or such lesser amount as may be permitted by
law in respect of the Mortgagor, of the amount so overdue may be charged by the Mortgagee for
the purpose of defraying the expenses incident to handling such delinquent payment.


       Section 1.22.    Environmental Matters,     (a) For purposes of this Mortgage, the following
terms shall have the following meanings:

                                    009960-012/00205245-8Mortgage 18
  21-11298-lgb      Doc 24-5     Filed 08/19/21 Entered 08/19/21 15:22:12               Exhibit E
                                         Pg 20 of 56




                "Environmental Complaint" - shall mean any judgment, lien, order, complaint,
notice, citation, action, proceeding or investigation pending before any Governmental Authority,
including, without limitation, any environmental regulatory body, with respect to or threatened
against or affecting the Mortgagor or relating to its business, assets, property or facilities or the
Mortgaged Property, in connection with any Hazardous Material or any Hazardous Discharge or
any Environmental Law.


                "Environmental Laws" - shall mean any applicable federal, state or local laws,
rules, regulations, resolutions, ordinances, directives or orders (whether now existing or hereafter
enacted or promulgated) or any judicial or administrative interpretation of such laws, rules,
regulations, resolutions, ordinances, directives or orders or any other applicable determination
regarding land, water, air, health, safety or environment including, for example but not limited to,
the Federal Statutes and the State Statute.


               "Governmental Authority" - shall mean any federal, state, or local government,
governing body, agency, court, tribunal, authority, subdivision, bureau or other recognized body
having jurisdiction to enact, promulgate, interpret, enforce, review or repeal any Environmental
Law.


               "Hazardous Discharge" - shall mean any release of a Hazardous Material caused
by the seeping, spilling, leaking, pumping, pouring, emitting, using, emptying, discharging,
injecting, escaping, leaching, dumping or disposing of any Hazardous Material into the
environment, and any liability for the costs of any cleanup or other remedial action.


               "Hazardous Materials" - shall mean, without limitation, flammables, explosives,
radioactive materials, radon, asbestos, urea formaldehyde foam insulation, polychlorinated
biphenyls or related or similar materials, petroleum products, explosives, radioactive materials,
or any other hazardous or toxic or harmful materials, wastes and substances or any other
chemical, material, substance or element which is hereinafter defined, determined, identified,
prohibited, limited or regulated by the Environmental Laws, or any other chemical, material,
substance or element which is known to be harmful to the health or safety of occupants of
property or which is hereinafter defined as a hazardous or toxic substance by any Federal, State,
or local law, ordinance, rule or regulation, including, but not limited to the Toxic Substances
Control Act (15 U.S.C. 2601 et seq.), the Federal Water Pollution Control Act (33 U.S.C. 1251 et
seq.), the Clean Air Act (42 U.S.C. 7401 et seq.), the Resource Conservation and Recovery Act
(42 U.S.C. 6901 et seq.), the Comprehensive Environmental Response, Compensation and
Liability Act of 1980 (42 U.S.C. 9601 et seq.), the Hazardous Materials Transportation Act (49
U.S.C. 1801 et seq.), and/or the regulations promulgated in relation thereto, all as the same may
be amended from time to time (collectively, the "Federal Statutes"); the New York State
Environmental. Conservation Law Article 27, Title 13 (the "State Statute") and the regulations
promulgated in relation thereto, all as the same may be amended from time to time. :


                                    009960-0 12/00205245-8Mortgage 19
  21-11298-lgb       Doc 24-5     Filed 08/19/21 Entered 08/19/21 15:22:12             Exhibit E
                                          Pg 21 of 56




               (b)     The Mortgagor covenants, represents and warrants that:


                       (0       to the best of the Mortgagor's knowledge, after due inquiry and
investigation, the Mortgaged Property has never been used by previous owners, operators or
occupants or the Mortgagor to generate, manufacture, refine, transport, treat, store, handle or
dispose, transfer, produce, process or in any manner deal with any Hazardous Material,


                       (ii)   the Mortgagor has not received a summons, citation, directive,
letter or other communication, written or oral, from any Government Authority concerning any
intentional or unintentional action or omission on the Mortgagor's part which had resulted in the
violation of any Environmental Laws, as the same may relate to the Mortgaged Property,


                       (iii)  to the best of the Mortgagor's knowledge, after due inquiry and
investigation, no lien has been attached to any revenues or any real or personal property owned
by the Mortgagor and located in the state where the Mortgaged Property is located, including, but
not limited to the Mortgaged Property, for "Damages" and/or "Cleanup and Removal Costs", as
such terms are hereinafter defined in any Environmental Law, or arising from an intentional or
unintentional act or omission in violation thereof by the Mortgagor or by any previous owner
and/or operator of such real or personal property, including, but not limited to the Mortgaged
Property,


                       (iv)     the Mortgagor has duly complied, and shall continue to comply,
with the provisions of the Environmental Laws governing it, its business, assets, property,
facilities and the Mortgaged Property, and shall keep the Mortgaged Property free and clear of
any liens imposed pursuant to such laws,


                       (v)    the Mortgagor shall not, and shall not permit any of its officers,
partners, members, employees, agents, contractors, licensees, tenants, occupants or others to
generate, manufacture, refine, transport, treat, store, handle, dispose, transfer, produce, process or
in any manner deal with any Hazardous Material on the Mortgaged Property except in
accordance with all Environmental Laws applicable thereto,


                       (vi)     to the best of Mortgagor's knowledge, after due inquiry and
investigation, there is not now outstanding any Environmental Complaint issued by any
Governmental Authority to the Mortgagor or relating to the Mortgagor's business, assets,
property, and facilities or the Mortgaged Property under any Environmental Law, and there is not
now existing any condition which, if known by the proper authorities, could result in any
Environmental Complaint, and that


                        (vii)   the Mortgagor has, and will continue to have, all necessary
licenses, certificates and permits under the Environmental Laws relating to the Mortgagor and its
facilities, property, assets, and business, and the Mortgaged Property and the foregoing are in
compliance with all Environmental Laws.

                                     009960-0 12/00205245-8Mortgage 20
  21-11298-lgb       Doc 24-5      Filed 08/19/21 Entered 08/19/21 15:22:12                             Exhibit E
                                           Pg 22 of 56




               (c)      If the Mortgagor receives any notice of (i) the presence of Hazardous
Materials on the Mortgaged Property, (ii) any violation of or noncompliance with any
Environmental Law, (iii) the occurrence of a Hazardous Discharge on or about any asset,
business, facility or property of the Mortgagor or caused by the Mortgagor, or (iv) any
Environmental Complaint affecting the Mortgagor or the Mortgaged Property or the Mortgagor's
operations, assets, business, facilities or properties, then the Mortgagor will give written notice of
the foregoing to the Mortgagee within ten (10) days of receipt thereof and shall (1) promptly
comply with the Enviromnental Laws and all other laws, regulations, resolutions and ordinances
to correct, contain, cleanup, remove, resolve or minimize the impact of such Hazardous
Materials, Environmental Discharge or Enviromnental Complaint and (2) shall at the
Mortgagee's option, (i) post a bond from a surety or (ii) cause a lending institution to issue a
letter of credit for the benefit of the Mortgagee and any Governmental Authority requiring the
same; the surety or the lending institution, and the form, the substance and the amount of the
bond or letter of credit to be satisfactory to the Mortgagee and satisfactory to the applicable
Governmental Authority, or shall give to the Mortgagee and the applicable Governmental
Authority such other security satisfactory in form, substance and amount to both the Mortgagee
and the applicable Governmental Authority to assure that the Mortgagor does correct, contain,
cleanup, remove, resolve or minimize the impact of such Hazardous Materials, Enviromnental
Discharge or Environmental Complaint.


               (d)      Notwithstanding the foregoing provisions of Subsection (c) above, the
Mortgagor shall have the right (i) to contest (a "Contest") by appropriate administrative, legal or
equitable proceedings, diligently prosecuted, in good faith, in its name or in the name of the
Mortgagee if required by law, at the sole cost and expense of the Mortgagor, the validity or
applicability of any Environmental Laws,             or any Environmental                Complaint against the
Mortgaged Property or the Mortgagor, and (ii) to postpone compliance with the Environmental
Laws until the final determination of such Contest without violating the provisions of this
Mortgage provided that Mortgagor delivers to Mortgagee not less than ten (10) business days'
prior written notice, however:


                        (i)      enforcement proceedings with respect to any and all Enviromnental
Laws are deferred or stayed during the pendency of the Contest,


                        (ii)     the Mortgagee shall not be subject to any civil or criminal or other
penalties or liabilities, costs or expenses by reason of any such Contest or postponement in
complying with the Environmental Laws,                                           _   >


                        (iii)    the Mortgagor, at Mortgagee's request, shall (i) post a bond, cause
the issuance of a letter of credit or provide such other security required under the provisions of
Subsection (c) above,                                             - -      . .              :   .   •




                                      009960-0 1 2/00205245-8Mortgage 21
  21-11298-lgb        Doc 24-5     Filed 08/19/21 Entered 08/19/21 15:22:12                  Exhibit E
                                           Pg 23 of 56




                        (iv)     Mortgagee    shall   have    confirmed     in    writing,   prior       to   the
commencement of such Contest, that the lien of this Mortgage shall not be impaired in the sole
judgment of the Mortgagee and no default shall exist under this Mortgage,


                        (v)      any Contest shall be instituted promptly after Mortgagor receives
notice of the existence of any Environmental Law which imposes an obligation upon the
Mortgagor or the Mortgagee or the Mortgagor receives notice of any Environmental Complaint
which asserts any obligation or liability affecting the Mortgagor, the Mortgagee or all or any
portion of the Mortgaged Property, and such Contest shall at all times be diligently prosecuted
until a final disposition is obtained that negates such assertion of obligation or liability,


                        (vi)     the Mortgagor shall give the Mortgagee a monthly written report,
during the period of a Contest, on the Mortgagor's progress with respect thereto, and shall
promptly give the Mortgagee such other infonnation with respect thereto as the Mortgagee shall
reasonably request, and


                        (vii)    The Mortgagee will, at the expense of the Mortgagor, execute and
deliver   any   documents jurisdictionally     necessary     or   proper   to    prosecute   such        Contest
proceedings. The Mortgagee, at the cost and expense of the Mortgagor, shall have the right (but
not the obligation) to join in any Contest.


                (e)     Without limitation of the Mortgagee's rights under this Mortgage or
applicable law, the Mortgagee shall have the right, but not the obligation, to exercise any of its
rights to cure as provided in this Mortgage or to enter onto the Mortgaged Property or to take
such other actions as it deems necessary or advisable to correct, contain, cleanup, remove,
resolve or minimize the impact of, or otherwise deal with, any such Hazardous Material,
Hazardous Discharge or Environmental Complaint upon its receipt of any notice from any person
or entity or Governmental Authority, infonning the Mortgagee of such Hazardous Material,
Hazardous Discharge or Environmental Complaint, which if true,, could adversely affect the
Mortgagor or any part of the Mortgaged Property or which, in the sole opinion of the Mortgagee,
could adversely affect its collateral security under this Mortgage.              All reasonable costs and
expenses incurred and paid by the Mortgagee in the exercise of any such rights shall be paid by
the Mortgagor to the Mortgagee upon demand, together with interest from the date that such sum
is advanced, payment made or expense incurred, to and including the date of reimbursement,
computed at the Default Rate.      Any such sum paid by the Mortgagee and the interest thereon
shall be a lien on the Mortgaged Property prior to any claim, lien, right, title or interest in, to or
on the Mortgaged Property attaching or accruing subsequent to the lien of this Mortgage, and
shall be deemed to be secured by this Mortgage and evidenced by the Note.


                (f>     Upon reasonable notice to the Mortgagor, the Mortgagee, its officers,
employees, agents and contractors, may enter the Mortgaged Property to inspect it and to
conduct, complete and take such tests, samples, analyses and other processes (an "Environmental
Survey") as the Mortgagee shall require to determine the Mortgagor's compliance with this

                                     009960-012/00205245-8Mortgage 22                                *   •
      21-11298-lgb        Doc 24-5     Filed 08/19/21 Entered 08/19/21 15:22:12                  Exhibit E
                                               Pg 24 of 56




    Subsection and the Environmental Laws. The costs, expenses and fees of the Mortgagee of such
    entry, inspection, tests, samples, analyses and processes shall be paid and reimbursed by the
    Mortgagor to the Mortgagee, upon demand, together with interest, from the date that such sum is
    advanced, payment made or expense incurred, to and including the date of reimbursement,
    computed at the Default Rate. Any such sum paid by the Mortgagee, with interest thereon at the
    rate provided to be paid on the indebtedness secured by this Mortgage, shall be a lien on the
    Mortgaged Property prior to any claim, lien, right, title or interest in, to or on the Mortgaged
    Property attaching or accruing subsequent to the lien of this Mortgage, and shall be deemed to be
    secured by this Mortgage and evidenced by the Note.

                    (g)   Upon written request, the Mortgagor shall provide to the Mortgagee the
    following information pertaining to all operations conducted in or on the Mortgaged Property:


                            (i)      copies    of   all   licenses,   certificates   and   pennits   under       the
    Environmental Laws;


                            (ii)     material safety data sheets and maps, diagrams and site plans
    showing the location of all storage areas and storage tanks for all Hazardous Materials or other
    chemicals in, used at, manufactured at, brought to or stored at the Mortgaged Property;


                            (iii)    copies of all materials filed with any Governmental Authority;


                            (iv)     a description of the operations and processes of the Mortgagor; and


                            (v)      any other information         which the Mortgagee may reasonably
    require.


                    (h)  The Mortgagor and each of the general partners in Mortgagor if Mortgagor
    is a partnership and each of the members of Mortgagor if Mortgagor is a limited liability
    company, covenants and agrees, at its sole cost and expense, to indemnify, protect, and save the
    Mortgagee harmless against and from any and all damages, losses, liabilities, obligations,
    penalties, claims, litigation, demands, defenses, judgments, suits, proceedings, costs,
    disbursements or expenses of any kind or of any nature whatsoever (including, without
:
    limitation, costs and reasonable attorneys' fees and disbursements, generally, and at trial and
    appellate level and experts' fees and disbursements) which may at any time be imposed upon,
    incurred by or asserted or awarded against the Mortgagee and arising from or out of:

                            (i)      the Mortgagor's failure to perform and comply with this Section, or


                            (ii)     any      Hazardous     Material,    any    Hazardous     Discharge^         any
    Environmental     Complaint,     or any Environmental          Law applicable to the Mortgagor,- its
    operations, business, assets, property or facilities, or the Mortgaged Property, or .                  - -



                                           009960-012/00205245-8Mortgage 23
  21-11298-lgb        Doc 24-5      Filed 08/19/21 Entered 08/19/21 15:22:12                 Exhibit E
                                            Pg 25 of 56




                          (iii)   the imposition of any lien against the Mortgaged Property to the
extent of damages caused by, or the extent of the recovery of any costs for the cleanup, release or
threatened release of any Hazardous Material; or


                          (iv)    any action against the Mortgagor under this indemnity or the
assertion by the Indemnitor of any defense to its obligations hereunder.


          Section 1.23.              The Mortgagor will receive the advances secured by this
                          Trust Funds.
Mortgage and will hold the right to receive such advances as a trust fund to be applied first for
the purpose of paying the cost of improvement (as defined in Section 13 of the Lien Law of the
State of New York, whether or not the Mortgaged Property is located in that State), and the
Mortgagor will apply the same first to the payment of the cost of improvement before using any
part of the total of the same for any other purpose.


          Section 1.24.   Assessments.     To Mortgagor's knowledge, there are no pending or
proposed special or other assessments for public improvements or otherwise affecting the
Mortgaged Property, nor are there any contemplated improvements to the Mortgaged Property
that may result in such special or other assessments.

          Section 1 .25   Use of Mortgaged Property. The Mortgaged Property is used exclusively
for commercial purposes and other appurtenant and related uses.


          Section 1.26    Certificate of Occupancy; Licenses.          All certifications, pennits, licenses
and approvals, including, without limitation, certificates of completion or occupancy and any
applicable liquor license required for the legal use, occupancy and operation of the Mortgaged
Property for the purpose intended herein, have been obtained and are valid and in full force and
effect.


                     Flood Zone. The Mortgaged Property is not located in an area identified
          Section 1.27
by the Federal Emergency Management Agency as an area having special flood hazards.


          Section 1.28    Physical Condition.      The     Mortgaged       Property,   including,   without
limitation, all buildings, improvements, parking facilities, sidewalks, storm drainage systems,
roofs, plumbing systems, HVAC systems, fire protection systems, electrical systems, equipment,
elevators, exterior sidings and doors, landscaping, irrigation systems and all structural
components, are in good condition, order and repair in all material respects.              There exists no
structural or other material defects or damages in the Mortgaged Property, whether latent or
otherwise. Mortgagor has not received notice from any insurance company or bonding company
of any defects or inadequacies in the Mortgaged Property, or any part thereof, which would
adversely affect the insurability of the same or cause the imposition of extraordinary premiums or -
charges thereon or of any termination or threatened termination of any policy of insurance or
bond.


                                       009960-0 12/00205245-8Mortgage 24
  21-11298-lgb        Doc 24-5     Filed 08/19/21 Entered 08/19/21 15:22:12                 Exhibit E
                                           Pg 26 of 56




       Section 1.29       Boundaries,      (a) None of the Improvements which were included in
determining the appraised value of the Mortgaged Property lie outside the boundaries and
building restriction lines of the Mortgaged Property to any material extent, and (b) no
improvements on adjoining properties encroach upon the Mortgaged Property and no easements
or other encumbrances upon the Mortgaged Property encroach upon any of the Improvements so
as to materially affect the value or marketability of the Mortgaged Property.


        Section 1.30      Leases and Rent Roll.         If, as and to the extent that there are tenants
occupying the Mortgaged Property, Mortgagor has delivered to Mortgagee a true, correct and
complete rent roll for the Mortgaged Property (a "Rent Roll") which includes all Leases
affecting the Mortgaged Property (including schedules for all executed Leases for Tenants not yet
in occupancy or under which the rent commencement date has not occurred). Except as set forth
in the Rent Roll (as same has been updated by written notice thereof to Mortgagee) and estoppel
certificates delivered to Mortgagee on or prior to the date hereof: (a) each Lease is in full force
and effect; (b) the premises demised under the Leases have been completed and the Tenants
under the Leases have accepted possession of and are in occupancy of all of their respective
demised premises; (c) the Tenants under the Leases have commenced the payment of rent under
the Leases, there are no offsets, claims or defenses to the enforcement thereof, and Mortgagor has
no monetary obligations to any Tenant under any Lease; (d) all rents due and payable under the
Leases have been paid and no portion thereof has been paid for any period more than thirty (30)
days in advance; (e) the rent payable under each Lease is the amount of fixed rent set forth in the
Rent Roll, and there is no claim or basis for a claim by the Tenant thereunder for an offset or
adjustment to the rent; (f) no Tenant has made any written claim of a material default against the
landlord under any Lease which remains outstanding nor has Mortgagor received, by telephonic,
in-person, e-mail or other communication, any notice of a material default under any Lease; (g)
there is no present material default by the Tenant under any Lease; (h) all security deposits under
the Leases have been collected by Mortgagor; (i) Mortgagor is the sole owner of the entire
landlord's interest in each Lease; (j) each Lease is the valid, binding and enforceable obligation
of Mortgagor and the applicable Tenant thereunder and there are no agreements with the Tenants
under the Leases other than as expressly set forth in the Leases; (k) no person or entity has any
possessory interest in, or right to occupy, the Mortgaged Property or any portion thereof except
under the tenns of a Lease; (1) none of the Leases contains any option or offer to purchase or
right of first refusal to purchase the Mortgaged Property or any part thereof; (m) neither the
Leases nor the rents payable thereunder have been assigned, pledged or hypothecated except to
Mortgagee, and no other Person has any interest therein except the Tenants thereunder; and (n)
no conditions exist which now give any Tenant or party the right to "go dark" pursuant to the
provision of its Lease.                                           .   ..    .           u


       Section 1.31       Filing and Recording Taxes.          All mortgage, mortgage recording, stamp,
intangible or other similar tax required to be paid in connection with the execution, delivery,
recordation, filing, registration, perfection or enforcement of any this Mortgage and the Loan
Documents, have been paid or will be paid, the Mortgage is enforceable in accordance with its
terms by Mortgagee (or any subsequent holder thereof).

                                        009960-0 12/00205245-8Mortgage 25                       .   ,     ,
  21-11298-lgb            Doc 24-5    Filed 08/19/21 Entered 08/19/21 15:22:12               Exhibit E
                                              Pg 27 of 56




        Section 1.32 Illegal Activity. No portion of the Mortgaged Property has been or will be
purchased, improved, equipped or fixtured with proceeds of any illegal activity, and no part of
the proceeds of the Loan will be used in connection with any illegal activity.


           Section 1,33                      All costs and expenses of any and all labor,
                            Construction Expenses.
materials, supplies and equipment used in the construction maintenance or repair of the
Improvements by Mortgagor through the date hereof have been paid in full. Any such expenses
which are not payable by Mortgagor are the responsibility of a Tenant at the Mortgaged Property.
To Mortgagor's knowledge, there are no claims for payment for work, labor or materials
affecting the Mortgaged Property for which Mortgagor is responsible which are or may become a
lien prior to, or of equal priority with, the liens created by this Mortgage.


           Section 1.34     Compliance. The use and operation of the Mortgaged Property comply in
all material respects with all Legal Requirements, including, without limitation, building and
zoning ordinances and codes and the Americans with Disabilities Act. Mortgagor is not in
default or violation of any order, writ, injunction, decree or demand of any Governmental
Authority and Mortgagor has received no written notice of any such default or violation. There
has not been committed by Mortgagor or, to Mortgagor's knowledge, any other person in
occupancy of or involved with the operation or use of the Mortgaged Property any act or
omission affording any Governmental Authority the right of forfeiture as against the Mortgaged
Property or any part thereof or any monies paid in performance of Mortgagor's obligations under
this Mortgage, the Note or any of the documents delivered in connection therewith. For purposes
hereof, "Legal Requirements" shall mean all statutes, laws, rules, orders, regulations, ordinances,
judgments, decrees and injunctions of Governmental Authorities affecting the Mortgaged
Property or any part thereof, or the construction, use, alteration or operation thereof, whether now
 or hereafter enacted and in force, and all permits, licenses, authorizations and regulations relating
thereto,    and   all   covenants,   agreements, restrictions     and      encumbrances   contained in any
instruments, either of record or known to Mortgagor, at any time in force affecting the Mortgaged
Property or any part thereof, including, without limitation, any which may (a) require repairs,
modifications or alterations in or to the Mortgaged Property or any part thereof, or (b) in any way
limit the use and enjoyment thereof.

      Section 1.35 Special Purpose Entity. At all times that the Note is outstanding, the
Mortgagor shall have no other purpose and shall conduct no other business, other than the
ownership, operation, management and sale of the Mortgaged Property.                                     .


       Section 1.36. Specific Clause. This Mortgage does not cover real property principally
improved or to be improved by one or more structures containing in the aggregate not more than
six (6) residential dwelling units, each having their own separate cooking facilities.         -


       Section 1.37. Indemnified Taxes, (a) All payments made by Borrower hereunder shall be
made free and clear of, and without reduction for or on account of,^Indemnified Taxes, excluding

                                        009960-012/00205245-8Mortgage 26
  21-11298-lgb     Doc 24-5     Filed 08/19/21 Entered 08/19/21 15:22:12                Exhibit E
                                        Pg 28 of 56




(i) Indemnified Taxes measured by Lender's net income, and franchise taxes imposed on it, by
the jurisdiction under the laws of which Lender is resident or organized, or any political
subdivision thereof, (ii) taxes measured by Lender's overall net income, and franchise taxes
imposed on it, by the jurisdiction of Lender's applicable lending office or any political
subdivision thereof or in which Lender is resident or engaged in business, and (iii) withholding
taxes imposed by the United States of America, any state, commonwealth, protectorate territory
or any political subdivision or taxing authority thereof or therein as a result of the failure of
Lender which is a Non-U.S. Entity to comply with the terms of paragraph (b) below. If any non-
excluded Indemnified Taxes are required to be withheld from any amounts payable to Lender, the
amounts so payable to Lender shall be increased to the extent necessary to yield to Lender (after
payment of all non-excluded Indemnified Taxes) interest or any such other amounts payable
hereunder at the rate or in the amounts specified hereunder. Whenever any non-excluded
Indemnified Tax is payable pursuant to Legal Requirements by Borrower, Borrower shall send to
Lender an original official receipt showing payment of such non excluded Indemnified Tax or
other evidence of payment reasonably satisfactory to Lender. Borrower hereby indemnifies
Lender for any incremental taxes, interest or penalties that may become payable by Lender which
may result from any failure by Borrower to pay any such non excluded Indemnified Tax when
due to the appropriate taxing authority or any failure by Borrower to remit to Lender the required
receipts or other required documentary evidence.


(ii)   In the event that Lender or any successor and/or assign of Lender is not incorporated
under the laws of the United States of America or a state thereof (a "Non-U.S. Entity") Lender
agrees that, prior to the first date on which any payment is due such entity hereunder, it will
deliver to Borrower two duly completed copies of United States Internal Revenue Service Form
W 8BEN, W-8IMY or W 8ECI or successor applicable form, as the case may be, certifying in
each case that such entity is entitled to receive payments under the Note, without deduction or
withholding of any United States federal income taxes.              Each entity required to deliver to
Borrower a Form W 8BEN, W-8IMY or W 8ECI pursuant to the preceding sentence further
undertakes to deliver to Borrower two further copies of such forms, or successor applicable
forms, or other manner of certification, as the case may be, on or before the date that any such
form expires (which, in the case of the Form W 8ECI, is the last day of each U.S. taxable year of
the Non-U.S. Entity) or becomes obsolete or after the occurrence of any event requiring a change
in the most recent form previously delivered by it to Borrower, and such other extensions or
renewals thereof as may reasonably be requested by Borrower, certifying in the case of a Form W
8BEN, W-8IMY or W 8ECI that such entity is entitled to receive payments under the Note
without deduction or withholding of any United States federal income taxes, unless in any such
case an event (including, without limitation, any change in treaty, law or regulation) has occurred
prior to the date on which any such delivery would otherwise-be required which renders all such
forms inapplicable or which would prevent such entity from duly completing and delivering any
such form with respect to it and such entity advises Borrower that it is not capable of receiving
payments without any deduction or withholding of United States federal income tax.


                                            ARTICLE II

                                   009960-0 1 2/00205245-8Mortgage 27
  21-11298-lgb         Doc 24-5      Filed 08/19/21 Entered 08/19/21 15:22:12                  Exhibit E
                                             Pg 29 of 56




                                     AFFIRMATIVE COVENANTS


Mortgagor covenants and agrees with Mortgagee that, so long as this Mortgage remains in effect,
Mortgagor will:


       Section 2.1      Notices of Claims and Litigation. Promptly inform Mortgagee in writing
of (1) all material adverse changes in Mortgagor's financial condition, and (2) all existing and all
threatened litigation, claims, investigations, administrative proceedings or similar actions
affecting Mortgagor or any guarantor of the Debt, or any portion thereof (the "Guarantor") which
is reasonably likely to materially affect the financial condition of Mortgagor or the financial
condition of any Guarantor. Mortgagor (i) shall observe and perform all the obligations imposed
upon the landlord under the Leases and shall not do or permit to be done anything to impair the
value of any of the Leases as security for the Loan; (ii) shall promptly send copies to Mortgagee
of all notices of default which Mortgagor shall send or receive thereunder; (iii) shall enforce all
of the material terms, covenants and conditions contained in the Leases upon the part of the
tenant thereunder to be observed or perfonned; (iv) shall not collect any of the Rents more than
one (1) month in advance (except security deposits shall not be deemed Rents collected in
advance); (v) shall not execute any other assignment of the landlord's interest in any of the
Leases or the Rents; and (vi) shall not consent to any assignment of or subletting under any
Leases not in accordance with their tenns, without the prior written consent of Mortgagee.


        Section 2.2    Financial Records. Maintain its books and records in accordance with
sound accounting method commonly used for assets similarly situated to the Property, applied on
a consistent basis, and permit Mortgagee to examine and audit Mortgagor's books and records at
all reasonable times.


        Section 2.3      Financial    Statements.    Furnish     Mortgagee with the         following,   upon
Mortgagee's request:


               0)   Annual Statements. Mortgagor's balance sheet- and income statement for
       the year ended, certified by a certified public accountant reasonably satisfactory to
       Mortgagee and personal financial statements for the Guarantors, if any, together with
       bank statements confirming liquidity stated therein.                     :


               (ii)      Tax   Returns     for    Mortgagor        and      Guarantor.   Federal   and   other
        governmental tax returns of the Mortgagor and Guarantor, prepared by a certified public
        accountant satisfactory to Mortgagee.


               (iii)     Rent Roll.    A certified rent roll and updated leases with respect to the
        Mortgaged Property.


To the extent that Mortgagor or and guarantor does not comply with this Section 2.3 within thirty

                                       009960-0 1 2/00205245-8Mortgage 28                            •     ..
  21-11298-lgb          Doc 24-5       Filed 08/19/21 Entered 08/19/21 15:22:12                    Exhibit E
                                               Pg 30 of 56




(30) days after notice thereof by Mortgagee, Mortgagor shall be responsible for a fee of Five
Hundred ($500.00) Dollars for each violation thereof plus an additional One Hundred ($100.00)
Dollar fee for each month thereafter that Mortgagor or Guarantor remains in violation thereof.


       All financial reports required to be provided under this Mortgage shall be prepared in
accordance with sound accounting method commonly used for assets similarly situated to the
Property, applied on a consistent basis, and certified by Mortgagor as being true and correct.


       Section 2.4    Registry.    Borrower shall maintain at its principal executive office (or
such other office or agency of the Borrower as it may designate from time to time by notice to
Lender) a register (the "Register") showing the principal amount (and stated interest) of the
Loans, Debt and related Notes held by each Lender, the amounts owing to each Lender, and the
interests therein of each Lender, from time to time, and such Register shall, absent manifest error,
conclusively be presumed to be correct and accurate. Notwithstanding anything to the contrary
contained in this agreement, the Note and Loan made under this agreement are registered
obligations and the right, title, and interest of each Lender and their assignees in and to such
Loan, Debt and Note (or any rights under this agreement) shall be transferable only upon notation
of such transfer in the Register. It is the intent of the parties hereto that the Obligations and
interests therein be in "registered form" for purposes of Code Sections 163(f), 871(h) and 881(c)
and Treasury Regulations Section 5f.l03-l(c) and 1.871-14, and the provisions of this Section
10.1 shall be interpreted and applied consistently with such purpose. The Borrower shall keep the
Register open and available at all times during nonnal business hours for inspection of any
Lender or its respective representatives.


          Section 2.5     Insurance.      Maintain the insurance required pursuant to Section 1 .8
herein.

          Section 2.6     Zoning.       Mortgagor     shall   not   initiate   or   consent   to    any   zoning
reclassification of any portion of the Mortgaged Property or seek any variance under any existing
zoning ordinance or use or permit the use of any portion of the Mortgaged Property in any
manner that could result in such use becoming a non-conforming use under any zoning ordinance
or any other applicable land use law, rule or regulation, without the prior consent of Mortgagee.

          Section 2.7     Guaranties. Prior to disbursement of any Loan proceeds, furnish executed
guaranties of the Loans in favor of Mortgagee, executed by the Guarantors (if any) on
Mortgagee's forms, and in the amounts and under the conditions set forth in those guaranties.


          Section 2.8     Other Agreements. Comply with all terms and conditions of all other
agreements, whether now or hereafter existing, between Mortgagor and any other party and
notify Mortgagee immediately in writing of any default in connection with any other such,
agreements.


                    Loan Proceeds. Use all Loan proceeds solely for the purchase of the
          Section 2.9
Mortgaged Property and working capital purposes only, unless specifically consented to the
                                         009960-012/00205245-8Mortgage 29
  21-11298-lgb        Doc 24-5    Filed 08/19/21 Entered 08/19/21 15:22:12                Exhibit E
                                          Pg 31 of 56




contrary by Mortgagee in writing.


         Section 2,10 Estoppel Statement. (A) After request by Mortgagee, Mortgagor shall
within five (5) Business Days furnish Mortgagee with a statement, duly acknowledged and
certified, setting forth (i) the amount of the original principal amount of the Note, (ii) the rate of
interest on the Note, (iii) the unpaid principal amount of the Note, (iv) the date installments of
interest and/or principal were last paid, (v) any offsets or defenses to the payment of the Debt, if
any, and (vi) that the Note, this Mortgage and the other Loan Documents are valid, legal and
binding obligations and have not been modified or if modified, giving particulars of such
modification.


         (B)    Mortgagor shall use its    commercially reasonable efforts to deliver to Mortgagee,
promptly upon request, duly executed estoppel certificates from any one or more Tenants as
required by Mortgagee attesting to such facts regarding the related Lease as Mortgagee may
require, including, but not limited to attestations that each Lease covered thereby is in full force
and effect with no defaults thereunder on the part of any party, that none of the rents have been
paid more than one month in advance, except as security, and that the Tenant claims no defense
or offset against the full and timely performance of its obligations under the Lease (the
"Estoppel"').


         Section 2.11 Performance. Perform and comply, in a timely manner, with all terms,
conditions, and provisions set forth in this Mortgage, in the Loan Documents, and in all other
instruments and agreements between Mortgagor and Mortgagee. Mortgagor shall notify
Mortgagee immediately in writing of any default in connection with any agreement.


         Section 2.12    Operations.    Maintain      executive      and   management   personnel   with
substantially the same qualifications and experience as the present executive and management
personnel; provide written notice to Mortgagee of any change in executive and management
personnel; conduct its business affairs in a reasonable and prudent manner.


         Section 2.13 Compliance with Governmental Requirements, (a) Comply with all laws,
ordinances, and regulations, now or hereafter in effect, of all governmental authorities applicable
to the conduct of Mortgagor's properties, businesses and operations, and to the use or occupancy
of the Collateral, including without limitation, the Americans With Disabilities Act. Mortgagor
may contest in good faith any such law, ordinance, or regulation and withhold compliance during
any proceeding, including appropriate appeals, so long as Mortgagor has notified Mortgagee in
writing prior to doing so and so long as, in Mortgagee's sole and absolute opinion, Mortgagee's
interests in the Collateral are not jeopardized. Mortgagee may require Mortgagor to post adequate
security or a surety bond, satisfactory to Mortgagee, to protect Mortgagee's interest.


     .  (b) Patriot Act. Borrower will use its good faith and commercially reasonable efforts to
 comply with the Patriot Act and all applicable requirements of governmental authorities having
jurisdiction over Borrower and/or the Property, including anti-money laundering laws and laws

                                       009960-0 12/00205245-8Mortgage 30                            •
  21-11298-lgb      Doc 24-5     Filed 08/19/21 Entered 08/19/21 15:22:12            Exhibit E
                                         Pg 32 of 56




pertaining to terrorism and shall put into place all policies, practices and procedures as required
by legal requirements to insure that each borrower party and each of their direct or indirect
owners are in compliance with the representations, warranties and covenants set forth in this
Section 2.13. Lender shall have the right to audit Borrower's compliance with the Patriot Act
and all applicable requirements of governmental authorities having jurisdiction over Borrower
and/or the Property, including anti-money laundering laws and laws relating to terrorism, hi the
event that Borrower fails to comply with the Patriot Act or any such requirements of
governmental authorities, then Lender may, at its option, cause Borrower to comply therewith
and any and all reasonable costs and expenses incurred by Agent in connection therewith shall be
secured by the Mortgage and the other Loan Documents and shall be due and payable promptly
following written demand.


          (c) Neither Borrower nor any borrower party nor any direct or indirect owner of any
borrower party (i) is listed on any government lists, (ii) is a person who has been determined by
competent authority to be subject to the prohibitions contained in Presidential Executive Order
No. 13224 (Sept. 23, 2001) or any other similar prohibitions contained in the rules and
regulations of OFAC or in any enabling legislation or other Presidential Executive Orders in
respect thereof, (iii) has been previously indicted for or convicted of any felony involving a crime
or crimes of moral turpitude or for any Patriot Act Offense, or (iv) is currently under
investigation by any governmental authority for alleged criminal activity. For purposes hereof,
the term "Patriot Act Offense" means any violation of the criminal laws of the United States of
America or of any of the several states, or that would be a criminal violation if committed within
the jurisdiction of the United States of America or any of the several states, relating to terrorism
or the laundering of monetary instruments, including any offense under (A) the criminal laws
against terrorism; (B) the Anti-Money Laundering Laws, (C) the Bank Secrecy Act, as amended,
(D) the Money Laundering Control Act of 1986, as amended, or (E) the Patriot Act. "Patriot Act
Offense" also includes the crimes of conspiracy to commit, or aiding and abetting another to
commit, a Patriot Act Offense. For purposes hereof, the tenn "Government Lists" means (1) the
Specially Designated Nationals and Blocked Persons Lists maintained by the Office of Foreign
Assets Control ("OFAC"), (2) any other list of terrorists, terrorist organizations or narcotics
traffickers maintained pursuant to any of the Rules and Regulations of OFAC that Agent notified
Borrower in writing is now included in "Government Lists", or (3) any similar, lists maintained
by the United States Department of State, the United States Department of Commerce or any
other Governmental Authority or pursuant to any Executive Order of the President of the United
States of America that Agent notified Borrower in writing is now included in "Government
Lists".


          (d)   At all times throughout the term of the Loan, including after giving effect to any
Transfers permitted pursuant to the Loan Documents, (a) none of the funds or other assets of
Borrower or any borrower party or any direct or indirect owner thereof are or shall constitute
property of, or are or shall be beneficially owned, directly or indirectly, by any person subject to
trade restrictions under United States law, including, , but not limited to, the International .
Emergency Economic Powers Act, 50 U.S.C. §§ 1701 et seq., The Trading with the Enemy Act, :

                                    009960-0 12/00205245-8Mortgage 31                       -
  21-11298-lgb        Doc 24-5    Filed 08/19/21 Entered 08/19/21 15:22:12          Exhibit E
                                          Pg 33 of 56




50 U.S.C. App. 1 et seq., and any Executive Orders or regulations promulgated thereunder, with
the result that the investment in Borrower or any other Borrower Party, as applicable (whether
directly or indirectly), would be prohibited by law (each, an "Embargoed Person"), or the Loan
made by Lender would be in violation of law, (b) no Embargoed Person shall have any interest of
any nature whatsoever in Borrower or any other borrower party or any direct or indirect owner
thereof , as applicable, with the result that the investment in Borrower or any other borrower
party, as applicable (whether directly or indirectly), would be prohibited by law or the Loan
would be in violation of law, and (c) none of the funds of Borrower, any other borrower party or
any direct or indirect owner thereof, as applicable, shall be derived from any unlawful activity
with the result that the investment in Borrower or any other borrower party, as applicable
(whether directly or indirectly), would be prohibited by law or the Loan would be in violation of
law.


       Section 2.14   Government Reports. Mortgagor shall furnish to Mortgagee promptly and
in any event within five (5) days after receipt thereof a copy of any notice, summons, lien,
citation, directive, letter or other communication from any governmental agency or
instrumentality concerning any intentional or unintentional action or omission on Mortgagor's
part including without limitation, in connection with any environmental activity whether or not
there is damage to the environment and/or other natural resources.


       Section 2.15  Maintenance and Use of Mortgaged Property. Mortgagor shall cause the
Mortgaged Property to be maintained in a good and safe condition and repair. The Improvements
and the Personal Property shall not be removed, demolished or materially altered (except for
normal replacement of the Personal Property) without the consent of Mortgagee. If under
applicable zoning provisions the use of all or any portion of the Mortgaged Property is or shall
become a nonconforming use, Mortgagor will not cause or permit the nonconfonning use to be
discontinued or the nonconforming Improvement to be abandoned without the express written
consent of Mortgagee.


       Section 2. 16 Waste. Mortgagor shall not commit or suffer any waste of the Mortgaged
Property or make any change in the use of the Mortgaged Property which will in any way
materially increase the risk of fire or other hazard arising out of the operation of the Mortgaged
Property, or take any action that might invalidate or give cause for cancellation of any Policy, or
do or permit to be done thereon anything that may in any way impair the value of the Mortgaged
Property or the security for the Loan. Mortgagor will not, without the prior written consent of
Mortgagee, pennit any drilling or exploration for or extraction, removal, or production of any
minerals from the surface or the subsurface of the Mortgaged Property, regardless of the depth
thereof or the method of mining or extraction thereof.

       Section 2.17     Litigation.   Mortgagor shall give prompt written notice to Mortgagee of
any litigation or governmental proceedings pending or threatened in writing against Mortgagor
which might materially adversely affect Mortgagor's condition (financial or otherwise) or
business or the Mortgaged Property.                                       .    .

                                      009960-0 12/00205245-8Mortgage 32
  21-11298-lgb        Doc 24-5   Filed 08/19/21 Entered 08/19/21 15:22:12            Exhibit E
                                         Pg 34 of 56




       Section 2.18 Notice of Default. Mortgagor shall promptly advise Mortgagee of any
material adverse change in the condition (financial or otherwise) of Mortgagor, Guarantor or the
Mortgaged Property or of the occurrence of any Default or Event of Default of which Mortgagor
has knowledge.


       Section 2.19   Cooperate in Legal Proceedings. Mortgagor shall at Mortgagor's expense
cooperate fully with Mortgagee with respect to any proceedings before any court, board or other
Governmental Authority which may in any way affect the rights of Mortgagee hereunder or any
rights obtained by Mortgagee under this Mortgage or any of the other Loan Documents and, in
connection therewith, permit Mortgagee, at its election, to participate in any such proceedings.


       Section 2,20    Perfonnance by Mortgagor. Mortgagor shall in a timely manner observe,
perfonn and fulfill each and every covenant, term and provision to be observed and performed by
Mortgagor under this Mortgage and the other Loan Documents and any other agreement or
instrument affecting or pertaining to the Mortgaged Property and any amendments, modifications
or changes thereto.


       Section 2.21. Additions to Security. All rights, title and interests of Mortgagor in and to
all hnprovements and additions hereafter constructed or placed on the Mortgaged Property and in
and to any accessories hereafter acquired shall, without any further mortgage, conveyance,
assignment or other act by Mortgagor, become subject to the lien of this Mortgage as fully and
completely, and with the same effect, as though now owned by Mortgagor and specifically
described in the granting clauses hereof. Mortgagor agrees, however, to execute and deliver to
Mortgagee such further reasonable documents as reasonably may be required by the terms of the
Loan Documents.


       Section 2.22. Subrogation. To the extent permitted by Law, Mortgagee shall be
subrogated, notwithstanding its release of record, to any lien now or hereafter existing on the
Mortgaged Property to the extent that such lien is paid or discharged by Mortgagee whether or
not from the proceeds of the Loan. This Section 2.22 shall not be deemed or construed, however,
to obligate Mortgagee to pay or discharge any lien.


                                            ARTICLE III


                                   NEGATIVE COVENANTS


      Mortgagor covenants and agrees with Mortgagee that while this Mortgage is in effect,
Mortgagor shall not, without the prior written consent of Mortgagee: :


       Section 3.1    Indebtedness and Liens. (1) Except for trade debt incurred in the normal
course of business; unsecured short-term indebtedness in connection with pre-development work
approved in advance by Lender; and Debt to Mortgagee, create, incur or assume indebtedness for
borrowed money, including capital leases or (2) sell, transfer, mortgage, assign, pledge, lease,
                                    009960-0 1 2/00205245-8Mortgage 33
  21-11298-lgb       Doc 24-5    Filed 08/19/21 Entered 08/19/21 15:22:12           Exhibit E
                                         Pg 35 of 56




grant a security interest in, or encumber any of Mortgagor's assets.


       Section 3.2     Continuity   of Operations. (1) F.ngage in any business activities
substantially different than those in which Mortgagor is presently engaged, (2) divide, cease
operations, liquidate, merge, transfer, acquire or consolidate with any other entity, change its
name, dissolve or transfer or sell Collateral out of the ordinary course of business, (3) make any
distributions (cash or otherwise) to its members, or (4) purchase or retire any of Mortgagor's
outstanding interests or alter or amend Mortgagor's capital structure.


       Section 3.3     Loans. Acquisitions and Guaranties. Loan, invest in or advance money or
assets to any other person, enterprise or entity; purchase, create or acquire any interest in any
other enterprise or entity, or incur any obligation as surety or guarantor.


        Section 3,4   Member Loans: Fees. Make any payment on any loan or fees to any third
party, including any members of Mortgagor, affiliates of any members of Mortgagor, or family
members of the Mortgagor.


       Section 3.5     Additional Improvements. Mortgagor will not construct any Improvements
other than those presently on the land and without the prior express written consent of
Mortgagee.


       Section 3.6     Restrictive Covenants. Zoning, etc. Without the prior express written
consent of Mortgagee, Mortgagor will not initiate, join in, or consent to any change in, any
restrictive covenant, easement, zoning ordinance, or other public or private restrictions limiting
or defining the uses which may be made of the Mortgaged Property. Mortgagor (a) will promptly
perform and observe, and cause to be performed and observed, all of the terms and conditions of
all agreements affecting the Mortgaged Property, and (b) will do or cause to be done all things
necessary to preserve intact and unimpaired any and all easements, appurtenances and other
interests and rights in favor of, or constituting any portion of, the Mortgaged Property.

                                            ARTICLE IV


                                 DEFAULTS AND REMEDIES


        Section 4.1.1. Events of Default-Optional Acceleration. The Debt shall become due, at
the option of the Mortgagee, upon the occurrence of any of the following events, which event
shall, upon the expiration of the notice and cure period (if any) specified in Section 4.2 below,
be an "Event of Default":                                    . • .   .   ; \.                    :


               (a)    after default in the payment of any installment of principal or interest as
provided in the Note or any other Event of Default provided for therein,




                                    009960-0 1 2/00205245-8Mortgage 34
  21-11298-lgb        Doc 24-5    Filed 08/19/21 Entered 08/19/21 15:22:12            Exhibit E
                                          Pg 36 of 56




                (b) after default in the payment when due and payable of any other sum of
money required to be paid or expended under this Mortgage, the Note, or any other Loan
Document (as hereinafter defined),


                (c)     if any warranty, representation, covenant or certification made herein or in
any financial statement furnished pursuant hereto or in connection with the indebtedness
evidenced by the Note and secured by this Mortgage (the "Loan") shall be materially false or
inaccurate in any manner as of the date made,


                (d)     after default in keeping the Mortgaged Property insured           as herein
provided,


                (e)     after default after notice and demand either in assigning and delivering the
policies insuring the Improvements or the Personal Property against loss as hereinafter provided
for or in reimbursing the Mortgagee for premiums paid on such insurance, as hereinabove
provided for,


                (f)     after default upon request in furnishing a statement of the amount due on
this Mortgage and whether any offsets or defenses exist against the Debt, as hereinabove
provided for,


                (g)    if the Mortgagor does or permits to be done anything that may in any way
impair the lien of this Mortgage or impair the value of the Mortgaged Property or any of the
Improvements or weaken or diminish the security intended to be given under and by virtue of this
Mortgage,


                (h)     upon the failure of the Mortgagor to perfonn or comply with any other
material tenn, covenant, condition or obligation of this Mortgage or of the Note or of any term,
covenant, condition or obligation of any other agreement or instrument executed by the
Mortgagor which secures the indebtedness evidenced by the Note (collectively, the "Loan
Documents"), or of any other agreement between the Mortgagor and the Mortgagee, in
accordance with the terms hereof and thereof,


                (i)    a default under, or any attempted withdrawal, cancellation or disclaimer of
liability under, any guarantee which guarantees payment of the Debt or any part thereof, or under
any agreement giving security for any such guarantee;


                (j)     INTENTIONALLY OMITTED


                (k)     if a default occurs under any mortgage which is prior, equal or subordinate
to the lien of this Mortgage or the mortgagee under any such prior, equal or subordinate mortgage
commences a foreclosure action in connection with said mortgage;


                                     009960-0 1 2/00205245-8Mortgage 35
  21-11298-lgb        Doc 24-5   Filed 08/19/21 Entered 08/19/21 15:22:12             Exhibit E
                                         Pg 37 of 56




               (1)  the further mortgage, pledge or encumbrance by the Mortgagor of the
Mortgaged Property or any part thereof or any interest therein without the prior written consent
of the Mortgagee;


               (m)    the further assignment or encumbrance by the Mortgagor of the Rents
arising from the Mortgaged Property, or any part thereof, without the prior written consent of the
Mortgagee in each instance;


               (n)    if the Mortgagor leases all or any part of the Mortgaged Property in
violation of Section 1.14 hereof, or effects any changes in any lease in violation of Section 1.14
hereof;


               (o)   the occurrence, in the sole judgment of the Mortgagee, of a material
adverse change in the identity, control, financial condition or operation of the Mortgagor or the
Mortgaged Property;


                (p)    any default, for thirty (30) days after notice and demand, in the payment of
any taxes of any kind and nature, assessments, water and sewer charges, rents and rates, and other
governmental or municipal charges, fines or impositions relating to the Mortgaged Property or
any part thereof;


                (q)   any failure for thirty (30) days after notice and demand to exhibit to the
Mortgagee receipted bills for any taxes of any kind and nature, assessments, water and sewer
charges, rents and rates, and other governmental or municipal charges, fines or impositions
herein referred to;


                (r)     if the Mortgagee shall give the written notice specified above in Section
14(c);

                (s)     any change in any zoning ordinance or regulation or any other public
restriction is enacted, adopted or implemented that limits or defines the uses which may be made
of the Mortgaged Property such that the present or intended use of the Mortgaged Property, as
specified in the Loan Documents, would be in violation of such zoning ordinance or regulation or
public restriction, as changed and such use may not continue as a pre-existing non-conforming
use; or                                                 '                .   -    -                .



                (t)     if the Mortgagor or any Guarantor, who is an individual shall die and a
reasonably acceptable replacement is not provided within sixty (60) days; or             .   i."


                (u)     if Mortgagor or any Guarantor generally not pay their debts as such debts
become due.




                                    009960-012/00205245-8Mortgage 36
  21-11298-lgb       Doc 24-5       Filed 08/19/21 Entered 08/19/21 15:22:12                   Exhibit E
                                            Pg 38 of 56




              Notwithstanding the foregoing, in the event that Lender elects to accelerate in
connection with an Event of Default by Guarantor of this Section 4.1.1 that is unrelated to the
Mortgaged Property and/or to Mortgagor, Borrower shall have a period of ninety (90) days to
prepay the loan in full without penalty.


      Section 4.1.2. Events of Default-Automatic Acceleration. The Debt shall forthwith and
automatically become due, upon the occurrence of any of the following events which event shall
also be an "Event of Default":


                if the Mortgagor or any Guarantor shall:


                        (0        call a meeting of or make an assignment for the benefit of
creditors,


                         (ii) file a petition in bankruptcy, under Title 11 of the U.S. Code, as
amended (the "Bankruptcy    Code"),   or be adjudicated insolvent or bankrupt, file a petition in
bankruptcy, or be adjudicated insolvent or bankrupt,


                             be the subject of an order for relief under the Bankruptcy Code, or
                         (iii)
petition or apply to any tribunal for the appointment of a receiver or a trustee for it or a
substantial part of its assets,


                         (iv)     file   any    petition    seeking    any   reorganization,    arrangement,
composition, readjustment, liquidation, dissolution, or similar relief under any present or future
federal or state act or law relating to bankruptcy, insolvency, or other relief for debtors, whether
now or hereafter in effect,


                         (v)have filed against it a petition, application or proceeding described
above in subdivision (iv) or such a petition, application or proceeding shall have been
commenced against it, which remains undismissed or unstayed for a period of sixty (60) days or
more,            .



                         (vi)     by any act or omission indicate its consent to, approval of or
acquiescence in any petition, application or proceeding described above in subdivision (iv) or in
the appointment of a custodian, receiver or any trustee for it or any substantial part of any of its
property,


                         (vii)    suffer any such custodianship,- receivership or trusteeship to
continue undischarged for a period of thirty (30) days or more,


                         (viii) conceal, remove or permit to be concealed or removed, any part of
its property, with intent to hinder, delay or defraud its creditors or any of them,


                                         009960-012/00205245-8Mortgage 37
  21-11298-lgb        Doc 24-5     Filed 08/19/21 Entered 08/19/21 15:22:12           Exhibit E
                                           Pg 39 of 56




                        (ix) make or suffer a transfer of any of its property which may be
fraudulent under any bankruptcy, fraudulent conveyance or similar law,


                        (x)   make any transfer of its property to or for the benefit of a creditor
at a time when other creditors similarly situated have not been paid, or


                        (xi)  shall suffer or permit, while insolvent, any creditor to obtain a lien
upon any of its property through legal proceedings or distraint which is not vacated within thirty
(30) days from the date thereof.


       Section 4,2.    Remedies,     (a) Immediately upon the occurrence of an Event of Default
pursuant to Section 4.1.1 (a), upon the occurrence of a monetary Event of Default listed in
Section 4.1.1 other than 4.1.1 (a), that is not cured within ten (10) days after notice thereof, and
upon the occurrence of any non-monetary Event of Default hereunder, that is not cured within
(30) days after notice thereof, the Mortgagee may, in addition to any rights or remedies available
to it hereunder or under any of the Loan Documents, or at law, take such action as it deems
advisable to protect and enforce its rights against the Mortgagor and in and to the Mortgaged
Property, including the following actions, each of which may be pursued concurrently or
otherwise, at such time and in such order as the Mortgagee may determine, in its sole discretion,
without impairing or otherwise affecting the other rights and remedies of the Mortgagee:

                        (i)      declare the entire unpaid Debt to be immediately due and payable;


                        (ii)     enter into or upon the Mortgaged Property, either personally or by
its agents, nominees or attorneys, and dispossess the Mortgagor and its agents and servants
therefrom, and thereupon the Mortgagee may (A) use, operate, manage, control, insure, maintain,
repair, restore and otherwise deal with all and every part of the Mortgaged Property and conduct
the business thereat, (B) complete any construction on the Mortgaged Property in such manner
and fonn as the Mortgagee deems advisable, (C) make alterations, additions, renewals,
replacements and improvements to or on the Mortgaged Property, (D) exercise all rights and
powers of the Mortgagor with respect to the Mortgaged Property, whether in the name of the
Mortgagor or otherwise, including the right to make, cancel, enforce or modify Leases, obtain
and evict tenants, and demand, sue for, collect and receive all earnings, revenues, rents, issues,
profits and other income of the Mortgaged Property and every part thereof, and (E) apply the
receipts from the Mortgaged Property to the payment of the Debt, after deducting therefrom all
expenses (including reasonable attorneys' fees) incurred, in connection with the aforesaid
operations and all amounts necessary to pay the taxes, assessments, insurance and other charges
in connection with the Mortgaged Property, as well as compensation for the services, of the
Mortgagee, its agents and employees;                                                          •• ;




                        (iii)institute proceedings for the complete foreclosure of this Mortgage,
in which case the Mortgaged Property may be sold for cash or credit in one or more parcels, and
in such order as the Mortgagee shall determine;

                                      009960-012/00205245-8Mortgage 38
  21-11298-lgb        Doc 24-5     Filed 08/19/21 Entered 08/19/21 15:22:12                Exhibit E
                                           Pg 40 of 56




                        (iv)     with or without entry and, to the extent permitted, and pursuant to
the procedures provided by, applicable law, institute proceedings for the partial foreclosure of
this Mortgage for the portion of the Debt then due and payable, subject to the lien of this
Mortgage continuing unimpaired and without loss of priority so as to secure the balance of the
Debt not then due;


                        (v)      sell the Mortgaged Property or any part thereof and all estate,
claim, demand, right, title and interest of the Mortgagor therein and rights of redemption thereof,
pursuant to power of sale or otherwise, at one or more sales, in whole or in parcels, at such time
and place, upon such terms and after such notice thereof as may be required or pennitted by law,
and in the event of a sale, by foreclosure or otherwise, of less than all of the Mortgaged Property,
this Mortgage shall continue as a lien on the remaining portion of the Mortgaged Property;


                        (vi)     institute an action, suit or proceeding in equity for the specific
performance of any covenants, conditions or agreements contained herein or in the Note;


                        (vii)    recover judgment on the Note before, during, after or in lieu of any
proceedings for the enforcement of this Mortgage;


                        (viii)   apply for the     appointment      of a   custodian,   trustee, receiver,
liquidator or conservator of the Mortgaged Property, without notice and without regard for the
adequacy of the security for the Debt and without regard for the solvency of the Mortgagor, or of
any person, party or entity liable for the payment of the Debt;


                        (ix)     pursue such other remedies as the Mortgagee may have under one
or more of the other Loan Documents and/or any other collateral given as security for the Loan,
including without limitation the Collateral;


                        (x)      pursue such remedies as the Mortgagee may have under applicable
law; and




                (b)     The purchase money proceeds or avails of any sale made under or by
virtue of this Section 4.2. together with any other sums which then may be held by the Mortgagee
under this Mortgage, whether under the provisions of this Section 4.2 or otherwise, shall be
applied as follows:                                                                                i -r tI-i   ;




                First:           To the payment of the costs and expenses of any such sale,
including,  without  limitation, compensation to the Mortgagee, its agents and counsel, and of any
judicial proceedings, including, without limitation, the costs and legal expenses of the Mortgagee
in foreclosing or otherwise enforcing this Mortgage, wherein the same may be made, and of all

                                      009960-012/00205245-8Mortgage 39
  21-11298-lgb        Doc 24-5     Filed 08/19/21 Entered 08/19/21 15:22:12           Exhibit E
                                           Pg 41 of 56




expenses, liabilities and advances made or incurred by the Mortgagee under this Mortgage,
together with interest at the Default Rate, and all taxes or assessments, except any taxes,
assessments or other charges subject to which the Mortgaged Property shall have been sold.


                Second:      To the payment of the whole amount then due, owing or unpaid
upon the Note for principal and interest with interest on the unpaid principal at the Default Rate
from and after the happening of any Event of Default described above in Section 4.1 until the
same is paid.


                Third:           To the payment of any other sums required to be paid by the
Mortgagor pursuant to any provision of this Mortgage, the Note and all other Loan Documents.


                Fourth:          To the payment of the surplus, if any, to whosoever may be
lawfully entitled to receive the same.


        The Mortgagee and any receiver or custodian of the Mortgaged Property or any part
thereof shall be liable to account for only those rents, issues and profits actually received by it.


                (c)       The Mortgagee may adjourn from time to time any sale by it to be made
under or by virtue of this Mortgage by announcement at the time and place appointed for such
sale or for such adjourned sale or sales; and, except as otherwise provided by any applicable
provision of law, the Mortgagee, without further notice or publication, may make such sale at the
time and place to which the same shall be so adjourned.


                (d)       Upon the completion of any sale or sales made by the Mortgagee under or
by virtue of this Section 4.2. the Mortgagee, or an officer of any court empowered to do so, shall
execute and deliver to the accepted purchaser or purchasers a good and sufficient instrument, or
good and sufficient instruments, granting, conveying, assigning and transferring all estate, right,
title and interest in and to the property and rights sold. The Mortgagee is hereby irrevocably
appointed the true and lawful attorney-in-fact of the Mortgagor (coupled with an interest), in its
name and stead, to make all necessary conveyances, assignments, transfers and deliveries of the
Mortgaged Property and rights so sold and for that purpose the Mortgagee may execute all
necessary instruments of conveyance, assignment, transfer and delivery, and may substitute one
or more persons or entities with like power, the Mortgagor hereby ratifying and confirming all
that its said attorney or such substitute or substitutes shall lawfully do by virtue hereof.
Nevertheless, the Mortgagor, if so requested by the Mortgagee, shall ratify and confirm any such
 sale or sales by executing and delivering to the Mortgagee or to such purchaser or purchasers all
 such instruments as may be advisable, in the judgment of the Mortgagee, for such purpose, and
 as may be designated in such request. Any such sale or sales made under or by virtue of this
 Section 4.2, whether made under the power of sale herein granted or under or by virtue of
judicial proceedings or of a judgment or decree of foreclosure and sale, shall operate to divest all
the estate, right, title, interest, claim and demand whatsoever, whether at law or in equity, of the .   .
Mortgagor in and to the properties and rights so sold, and shall be a perpetual bar both at law and

                                      009960-0 1 2/00205245-8Mortgage 40
  21-11298-lgb       Doc 24-5    Filed 08/19/21 Entered 08/19/21 15:22:12            Exhibit E
                                         Pg 42 of 56




in equity against the Mortgagor and against any and all persons or entities claiming or who may
claim the same, or any part thereof, either from, through or under the Mortgagor.


               (e)      Upon any sale made under or by virtue of this Section 4.2 (whether made
under the power    of  sale herein granted or under or by virtue of judicial proceedings or of a
judgment or decree of foreclosure and sale), the Mortgagee may bid for and acquire the
 Mortgaged Property or any part thereof and in lieu of paying cash therefor may take settlement
 for the purchase price by crediting upon the Debt of the Mortgagor secured by this Mortgage the
net sale price after deducting therefrom the expenses of the sale and the costs of the action and
any other sums which the Mortgagee is authorized to deduct under this Mortgage.


               (f)    The obligation of this Mortgage and of the Note shall continue until the
Debt is paid in full notwithstanding any action or actions or partial foreclosure which may be
brought to recover any amount or amounts for installments of principal, interest, taxes,
assessments, water and sewer charges, rents and rates or insurance or other sums or charges due
and payable under the provisions of this Mortgage.


               (g)   No recovery of any judgment by the Mortgagee and no levy of an
execution under any judgment upon the Mortgaged Property or upon any other property of the
Mortgagor shall affect in any manner or to any extent, the lien of this Mortgage upon the
Mortgaged Property or any part thereof, or any liens, rights, power or remedies of the Mortgagee
hereunder, but such liens, rights, powers and remedies of the Mortgagee shall continue
unimpaired as before, and notwithstanding any statutory rate of interest applicable with respect to
judgments, after the entering or execution of any judgment, the Debt shall bear interest at the rate
or rates payable under the Note and this Mortgage until the Debt shall have been paid in full.


               (h)    In the event of a foreclosure of this Mortgage or the succession by the
Mortgagee to the interests of the Mortgagor hereunder, the purchaser of the Mortgaged Property
or such successor shall succeed to all rights of the Mortgagor, including any right to proceeds of
insurance and to unearned premiums, and in and to all policies or certificates of insurance
assigned and delivered to the Mortgagee pursuant to this Mortgage.


               (i)    During such time that the Mortgagor shall be in default under this
Mortgage, or under the Note, the Mortgagee, in the event that the Mortgagor shall not file a
protest against any proposed assessed valuation of the Mortgaged Property at least fifteen (15)
days prior to the last date on which such protest may be legally filed, or having filed such protest
and. the same having been denied, shall not have commenced a proceeding for the reduction of
said assessed valuation at least fifteen (15) days prior to the last date of which such proceedings
may be legally commenced, the Mortgagee may, but shall have no obligation to, file such protest
or commence and prosecute such proceeding, in its own name or in the name of the Mortgagor,
and the Mortgagor agrees to cooperate fully, in good faith, with the Mortgagee in the conduct of
any such proceeding. All expenses of any such filing. by the Mortgagee or its commencement of .
any such proceeding, including, but limited to, reasonable counsel fees, shall be borne by the

                                    009960-0 1 2/00205245-8Mortgage 4 1
  21-11298-lgb      Doc 24-5     Filed 08/19/21 Entered 08/19/21 15:22:12           Exhibit E
                                         Pg 43 of 56




Mortgagor, and if paid by the Mortgagee shall be reimbursed by the Mortgagor to the Mortgagee,
its successors or assigns, upon demand, together with interest from the date that such sum is
advanced, payment made or expense incurred, to and including the date of reimbursement,
computed at the Default Rate. All expenses incurred by the Mortgagee, as described above in
this Subsection, and the interest thereon, shall be a lien on the Mortgaged Property prior to any
claim, lien, title, or interest in, to or on or claim upon the Mortgaged Property attaching or
accruing subsequent to the lien of this Mortgage and shall be deemed to be secured by this
Mortgage and evidenced by the Note.


               0)     THE MORTGAGOR HEREBY WAIVES THE RIGHT TO TRIAL BY
JURY, THE RIGHT TO CLAIM ANY OFFSET AND THE RIGHT TO ASSERT A
COUNTERCLAIM          IN   ANY      ACTION       OR     PROCEEDING      BROUGHT        BY    THE
MORTGAGEE TO ENFORCE ANY OF ITS RIGHTS UNDER THE NOTE OR UNDER THIS
MORTGAGE.


                (k)     Any assignee of this Mortgage and the Note shall take the same free and
clear of all offsets, counterclaims and defenses of any nature whatsoever which the Mortgagor
may have against any assignor of this Mortgage and the Note and no such offset, counterclaim or
defense shall be interposed or asserted by the Mortgagor in any action or proceeding brought by
any such assignee upon this Mortgage and/or the Note and any such right to interpose or assert
any such offset, counterclaim or defense in any such action or proceeding is hereby expressly
waived by the Mortgagor.


                 (1)    The Mortgagor shall not be relieved of the Mortgagor's obligation to pay
the Debt at the time and in the manner provided for in the Note and this Mortgage by reason of
(i) failure of the Mortgagee to comply with any request of the Mortgagor or any guarantor of the
payment of the Note and/or of this Mortgage to take any action to foreclose this Mortgage or
otherwise enforce any of the provisions hereof or of the Note or of any other mortgage,
instrument or document evidencing, securing or guaranteeing payment of the Debt or any portion
thereof, (ii) the release, regardless of consideration, of the whole or any part of the Mortgaged
Property or any other security for the Debt or the release of any individual or entity guaranteeing
the payment of the Note and/or of this Mortgage, or (iii) the extension or modification of this
Mortgage or any other mortgage, instrument or document evidencing, securing or guaranteeing
payment of the Note and/or of this Mortgage or any portion thereof, without first having obtained
the consent of the Mortgagor, and in the last event, the Mortgagor shall continue to be obligated
to pay the Debt at the time and in the manner provided in the Note and this Mortgage, as so
extended or modified, unless expressly released and discharged by the Mortgagee. Regardless of
consideration, and without the necessity for any notice to or consent by the holder of any
subordinate lien, encumbrance, right, title or interest in or to the Mortgaged Property, the
Mortgagee may release any person or entity at any time liable for the payment of the Debt or any
portion thereof or any individual or entity guaranteeing the payment of the .Note and/or of this
Mortgage or any part of the security held for the Debt or with respect to any guarantee, and may
extend the time of payment or otherwise modify any of the terms, covenants, conditions or
                                   009960-012/00205245-8Mortgage 42
  21-11298-lgb         Doc 24-5   Filed 08/19/21 Entered 08/19/21 15:22:12            Exhibit E
                                          Pg 44 of 56




obligations of the Note and/or this Mortgage, including, without limitation, a modification of the
interest rate payable on the principal balance of the Note, without in any manner impairing or
affecting this Mortgage or the hen thereof or the priority of this Mortgage, as so extended and
modified, as security for the Debt over any such subordinate lien, encumbrance, right, title and
interest. The Mortgagee may resort for the payment of the Debt to any other security or
guarantee held by the Mortgagee in such order and manner as the Mortgagee, in its discretion,
may elect. The Mortgagee shall not be limited exclusively to the rights and remedies herein
stated but shall be entitled to every additional right and remedy now or hereafter afforded by law
or equity.


               (m)    The Mortgagee shall have the right from time to time to take action to
recover  any sum or sums  which constitute a part of the Debt as the same become due, without
regard to whether or not the balance of the Debt shall be due, and without prejudice to the right
to the Mortgagee thereafter to bring an action of foreclosure, or any other action, for a default or
defaults by the Mortgagor existing at the time such earlier action was commenced.


               (n)   The Mortgagee shall have the right to receive and accept partial payment
of any sum or sums which constitute a part of the Debt or the interest accrued thereon and such
receipt and acceptance by the Mortgagee shall not be deemed a waiver or modification of any
default or defaults by the Mortgagor existing at such time.


                (o)     All remedies provided in this Mortgage are distinct from and cumulative
to any other right  or remedy under this Mortgage, the Note, any guarantee of the payment of the
Note and/or of this Mortgage or any other agreement between, among others, if any, the
Mortgagor and the Mortgagee executed simultaneously or in connection herewith, or afforded by
law or equity, and may be exercised concurrently, independently or successively. Wherever in
this Mortgage the prior consent of the Mortgagee is required, the consent of the Mortgagee given
as to one such transaction shall not be deemed to be a waiver of the right to require such consent
to future or successive transactions. Any such consents shall be in writing.


                (P)    Any forbearance by the Mortgagee in exercising any right or remedy
hereunder, or otherwise afforded by applicable law, shall not be a waiver of or preclude the
exercise of any such right or remedy. The procurement of insurance or the payment of taxes or
other liens or charges by the Mortgagee or other corrective or security protecting measures by the
Mortgagee shall not be a waiver of the Mortgagee's right to accelerate the maturity of the Debt.


               (q)    In any action or proceeding to foreclose this Mortgage, or to recover or
collect the Debt, the provisions of law respecting the recovery of costs, disbursements and
allowances shall also be applicable.


        Section 4.3. Interest After Default. If any payment due hereunder or under the Note is
not paid when due, whether on any stated due date, any accelerated due date or any other date or
at any other time specified under any of the terms, covenants, conditions or obligations hereof or

                                    009960-0 1 2/00205245-8Mortgage 43
  21-11298-lgb        Doc 24-5   Filed 08/19/21 Entered 08/19/21 15:22:12             Exhibit E
                                         Pg 45 of 56




thereof, then and in such event, the Mortgagor shall pay interest on the entire outstanding and
unpaid principal balance of the Debt, from and after the date on which such amount first became
due, at the Default Rate and such interest shall be due and payable, on demand, at such rate until
the entire amount due is paid to the Mortgagee, whether or not any action shall have been taken
or proceeding commenced to recover the same or to foreclose this Mortgage. All accrued but
unpaid interest shall be secured by this Mortgage as part of the Debt together with interest from
the date that such sum is advanced, payment made or expense incurred, to and including the date
of reimbursement, computed at the Default Rate. Nothing in this Section 4.3 or in any other
provision of this Mortgage shall constitute an extension of the time of payment of the Debt or
shall increase the maximum principal amount which may under any contingency be secured by
this Mortgage.


       Section 4.4.     Possession of Property Not Required. Upon any sale of any item of the
Mortgaged Property made pursuant to judicial proceedings for foreclosure (hereinafter referred to
as a "Judicial Sale"), it will not be necessary for any public officer acting under execution or
order of the court (hereinafter referred to as a "Selling Official"") to have any of the Mortgaged
Property present or constructively in his possession.


       Section 4.5.     Mortgages of Conveyance and Transfer. Upon the completion of every
Judicial Sale, the Selling Official will execute and deliver to each purchaser a bill of sale or deed
of conveyance, as appropriate, for the items of the Mortgaged Property that are sold. Mortgagor
hereby grants every such Selling Official the power as the attorney-in-fact of Mortgagor to
execute and deliver in Mortgagor's name all deeds, bills of sale and conveyances necessary to
convey and transfer to the purchaser all of Mortgagor's rights, title and interest in the items of
Mortgaged Property which are sold.         Mortgagor hereby ratifies and confirms all that such
attorneys-in-fact lawfully do pursuant to such power. Nevertheless, Mortgagor, if so requested
by the Selling Official or by any purchaser, will ratify any such sale by executing and delivering
to such Selling Official or to such purchaser, as applicable, such deeds, bills of sale or other
mortgages of conveyance and transfer as may be specified in any such request.


        Section 4,6. Possession of the Mortgaged Property. Upon the occurrence of any Event of
Default hereunder, it is agreed that the Mortgagor, if it is then the occupant of the Mortgaged
Property or any part thereof, shall immediately surrender possession of the space so occupied to
the Mortgagee, custodian, trustee, receiver, liquidator or conservator of the Mortgaged Property,
as may be the case, and if the Mortgagor is permitted to remain in possession, the possession
shall be as a month-to-month tenant of the Mortgagee, and, on demand, the Mortgagor shall pay
to the Mortgagee monthly, in advance, a reasonable rental for the space so occupied and in
default thereof the Mortgagor may be dispossessed by the usual summary proceedings. The
covenants herein contained may be enforced by a receiver of the Mortgaged Property or any part
thereof. Nothing in this Section 4.4 shall be deemed to be a waiver of the provisions of this
Mortgage prohibiting the sale or other disposition of the Mortgaged Property without the
Mortgagee's prior written consent.



                                     009960-012/00205245-8Mortgage 44
  21-11298-lgb       Doc 24-5     Filed 08/19/21 Entered 08/19/21 15:22:12               Exhibit E
                                          Pg 46 of 56




        Section 4.7. Collection of Rents. Upon the occurrence and during the continuance of an
Event of Default, the license granted to Mortgagor to collect the Rents shall be automatically and
immediately revoked, without further notice to or demand upon Mortgagor. Mortgagee may, hut
shall not be obligated to, perform any or all obligations of the landlord under any or all of the
Leases, and Mortgagee may, but shall not be obligated to, exercise and enforce any or all of
Mortgagor's rights under the Leases.        Without limitation to the generality of the foregoing,
Mortgagee may notify the tenants under the Leases that all Rents are to be paid to Mortgagee,
and following such notice all Rents shall be paid directly to Mortgagee and not to Mortgagor or
any other Person other than as directed by Mortgagee, it being understood that a demand by
Mortgagee on any tenant under the Leases for the payment of Rent shall be sufficient to warrant
payment by such tenant of Rent to Mortgagee without the necessity of further consent by
Mortgagor. Mortgagor hereby irrevocably authorizes and directs the tenants under the Leases to
pay all Rents to Mortgagee instead of to Mortgagor, upon receipt of written notice from
Mortgagee, without the necessity of any inquiry of Mortgagor and without the necessity of
determining the existence or non-existence of an Event of Default. Mortgagor hereby appoints
Mortgagee as Mortgagor's attorney-in-fact with full power of substitution, which appointment
shall take effect upon the occurrence of an Event of Default and is coupled with an interest and is
irrevocable prior to the full and final payment and perfonnance of the obligations hereunder, in
Mortgagor's name or in Mortgagee's name: (a) to endorse all checks and other instruments
received in payment of Rents and to deposit the same in any account selected by Mortgagee; (b)
to give receipts and releases in relation thereto; (c) to institute, prosecute and/or settle actions for
the recovery of Rents; (d) to modify the terms of any Leases including terms relating to the Rents
payable thereunder; (e) to cancel any Leases; (f) to enter into new Leases; and (g) to do all other
acts and things with respect to the Leases and Rents which Mortgagee may deem necessary or
desirable to protect the security for the obligations under this Mortgage.         Any Rents received
shall be applied first to pay all expenses and next in reduction of the other obligations hereunder.
Mortgagor shall pay, on demand, to Mortgagee, the amount of any deficiency between (i) the
Rents received by Mortgagee, and (ii) all expenses incurred together with interest thereon as
provided in the Loan Agreement and the other Loan Documents.


       Section 4.8. Receivership. Mortgagee may apply to any court of competent jurisdiction to .
have a receiver appointed to enter upon and take possession of the Mortgaged Property, collect
the Rents therefrom and apply the same as the court may direct, such receiver to have all of the
rights and powers permitted under the Laws of the State.            To the extent permitted by law, the
right of the appointment of such receiver shall be a matter of strict right without regard to the
value or the occupancy of the Mortgaged Property or the solvency or insolvency of Mortgagor.
The expenses, including receiver's fees, reasonable attorneys' fees, costs and agent's commission
incurred pursuant to the powers herein contained, together with interest thereon at the default rate
under the Note, shall be secured hereby and shall be due and payable by Mortgagor immediately
without notice or demand. Notwithstanding the appointment of any receiver or other custodian,
Mortgagee shall be entitled as pledgee to the possession and control of any cash or deposits at the
time held by, payable, or deliverable under the terms of this Mortgage to Mortgagee, and


                                     009960-0 12/00205245-8Mortgage 45
  21-11298-lgb       Doc 24-5    Filed 08/19/21 Entered 08/19/21 15:22:12            Exhibit E
                                         Pg 47 of 56




Mortgagee shall have the right to offset the unpaid obligations of this Mortgage against any such
cash or deposits in such order as Mortgagee may elect.


        Section 4.9.  Uniform Commercial Code. Mortgagee may exercise any or all of its
rights and remedies under the Uniform Commercial Code as adopted by the State as in effect
from time to time, (or under the Uniform Commercial Code in force from time to time in any
other state to the extent the same is applicable Law) or other applicable Law as well as all other
rights and remedies possessed by Mortgagee, all of which shall be cumulative. Mortgagee is
hereby authorized and empowered to enter the Mortgaged Property or other place where the
Personal Property may be located without legal process, and to take possession of the Personal
Property without notice or demand, which hereby are waived to the maximum extent permitted
by the Laws of the State. Upon demand by Mortgagee, Mortgagor shall make the Personal
Property available to Mortgagee at a place reasonably convenient to Mortgagee. Mortgagee may
proceed under the Unifonn Commercial Code as to all or any part of the Personal Property, and
in conjunction therewith may exercise all of the rights, remedies and powers of a secured creditor
under the Uniform Commercial Code.          Any notification required by the Unifonn Commercial
Code shall be deemed reasonably and properly given if sent in accordance with the Notice
provisions of this Mortgage at least ten (10) days before any sale or other disposition of the
Personal Property.     Mortgagee may choose to dispose of some or all of the Property, in any
combination consisting of both Personal Property and Real Property, in one or more public or
private sales to be held in accordance with the Law and procedures applicable to real property, as
pennitted by Article 9 of the Unifonn Commercial Code. Mortgagor agrees that such a sale of
Personal Property together with Real Property constitutes a commercially reasonable sale of the
Personal Property. Mortgagee may proceed under the Unifonn Commercial Code as to all or any
part of the Personal Property, and in conjunction therewith may exercise all of the rights,
remedies and powers of a secured creditor under the Unifonn Commercial Code.           Any
notification required by the Uniform Commercial Code shall be deemed reasonably and properly
given if sent in accordance with the Notice provisions of this Mortgage at least ten (10) days
before any sale or other disposition of the Personal Property.           -


       Section 4.10.    Credit of Mortgagee. To the maximum extent permitted by the Laws of the
State, upon any sale made under or by virtue of this Article IV. Mortgagee may bid for and
acquire the Mortgaged Property, or any part thereof, and in lieu of paying cash therefor may
apply to the purchase price, any portion of or all of the unpaid obligations of this Mortgage in
such order as Mortgagee may elect.                                           • .


       Section 4.11. Waiver of Redemption. Notice. Marshaling. Etc. Mortgagor hereby waives
and releases, for itself and anyone claiming through, by, or under it, to the maximum extent
permitted by the Laws of the State: (a) all benefit that might accrue to Mortgagor by virtue of any
present or future Law exempting the Mortgaged Property, or any part of the proceeds arising
from any sale thereof, from attachment, levy or sale on execution, or providing for any
appraisement, valuation, stay of execution, exemption from civil process, redemption or
extension of time for payment; (b) unless specifically required herein, all notices of default, or

                                     009960-0 12/00205245-8Mortgage 46                        :   :
  21-11298-lgb         Doc 24-5     Filed 08/19/21 Entered 08/19/21 15:22:12          Exhibit E
                                            Pg 48 of 56




Mortgagee's actual exercise of any option or remedy under the Loan Documents, or otherwise;
and (c) any right to have the Mortgaged Property marshaled.


       Section 4.12.  Mortgagee's Actions. Mortgagee may, at any time without notice to any
person and without consideration, do or refrain from doing any or all of the following actions,
and neither Mortgagor, any guarantor, endorser, co-maker, or surety of the obligations hereunder,
nor any other person (hereinafter in this Section 4.10 collectively referred to as the "Obligor")
now or hereafter liable for the payment and performance of the obligations hereunder shall be
relieved from the payment and performance thereof, unless specifically released in writing by
Mortgagee: (a) renew, extend or modify the terms of the Note, this Mortgage, the Guaranty and
the other Loan Documents, or any of them; (b) forbear or extend the time for the payment or
performance of any or all of the obligations hereunder; (c) apply payments by any Obligor to the
reduction of the unpaid obligations hereunder in such manner, in such amounts, and at such times
and in such order and priority as Mortgagee may see fit; (d) release any Obligor; (e) substitute or
release in whole or in part the Mortgaged Property or any other collateral or any portion thereof
now or hereafter held as security for the obligations hereunder without affecting, disturbing or
impairing in any manner whatsoever the validity and priority of the lien of this Mortgage upon
the Mortgaged Property which is not released or substituted, or the validity and priority of any
security interest of Mortgagee in such other collateral which is not released or substituted; (f)
subordinate the lien of this Mortgage or the lien of any other security interest in any other
collateral now or hereafter held as security for the obligations hereunder; (g) join in the execution
of a plat or replat of the land (provided, however, notwithstanding the foregoing, Mortgagee will
join in such plat or replat of the land so long as such plat or replat is acceptable to Mortgagee);
(h) join in and consent to the filing of a declaration of condominium or declaration of restrictive
covenants regarding all or any part of the land; (i) consent to the granting of any easement on the
land; and (j) generally deal with any Obligor or any other party as Mortgagee may see fit.




                                              ARTICLE V


                                         MISCELLANEOUS


        Section 5.1.    Notices.   All notices or other communications required or otherwise given
pursuant to this Mortgage shall be in writing and shall be personally delivered, delivered by
overnight courier or mailed by registered or certified mail, postage prepaid, with return receipt
requested, addressed as follows:                                                «     !l      «:"*


               If to the Mortgagor:


                         286 Rider Ave Acquisition LLC
                         679 Driggs Avenue
                         Brooklyn, New York 11211

                                      009960-0 1 2/00205245-8M ortgage 47
  21-11298-lgb      Doc 24-5      Filed 08/19/21 Entered 08/19/21 15:22:12             Exhibit E
                                          Pg 49 of 56




                       Attention: Toby Moskovits


                       With a copy to:


                       Treff & Lowy PLLC
                       481 Wythe Avenue, 2nd Floor
                       Brooklyn, New York 1 1249
                       Attention: mark Schlanger, Esq.


               If to the Mortgagee:


                       Be-Aviv 286 Rider LLC
                       41 Wooster Street, 2nd Floor
                       New York, New York 10013
                       Attention: Ben Harlev and Eyal Epstein


                       With a copy to:


                       Wachtel Missry LLP
                       One Dag Hammarskjold Plaza
                       885 Second Avenue, 47th Floor
                       New York, New York 10017
                       Attention: Eli D. Dweck, Esq.


       Any party may change the person or address to whom or which notices are to be given
hereunder, by notice duly given hereunder; provided, however, that any such notice shall be
deemed to have been given hereunder only when actually received by the party to which it is
addressed. Any notice or other communication given hereunder shall be deemed to have been
given or delivered, if personally delivered, upon delivery, if sent by overnight courier, on the first
(1st) business day of the Mortgagee after being sent, and if sent by mail, on the third (3rd)
business day of the Mortgagee after mailing.    Each party shall be entitled to rely on all
communications which purport to be given on behalf of any other party hereto and purport to be
signed by an authorized signatory of such party.


        Section 5.2. Consent to Jurisdiction: Waivers, (a) The Mortgagor hereby consents to the
jurisdiction of the courts of the State of New York and the state where the Mortgaged Property is
located if the Mortgaged Property is not located in the State of New York in any actions, suits or
proceedings arising out of or in connection with the Note or this Mortgage. In addition, the
Mortgagor irrevocably and unconditionally waives any objection which the Mortgagor may now
or hereafter have to the laying of venue of any of the aforesaid actions, suits, or proceedings
arising out of or in connection with the Note or this Mortgage brought in any of the aforesaid
courts, and hereby further irrevocably and unconditionally waives the right to plead. or claim, that


                                      009960-0 12/00205245-8Mortgage 48
  21-11298-lgb        Doc 24-5       Filed 08/19/21 Entered 08/19/21 15:22:12               Exhibit E
                                             Pg 50 of 56




any such action, suit or proceeding brought in any such court has been brought in an inconvenient
forum; and


                (b)      The Mortgagor waives the requirements of personal service in connection
with any actions, suits or proceedings arising out of or in connection with the Note or this
Mortgage, and consents that all service of process may be made by certified mail, return receipt
requested, addressed to the Mortgagor at the address of the Mortgagor set forth above in Section
3.1 as such address may be changed as therein set forth.


       Section 5.3. Governing Law. This Mortgage shall be construed in accordance with the
laws of the State of New York.


       Section 5.4.      Binding Obligations.       The terms, covenants, provisions and conditions
herein contained shall bind and inure to the benefit of the heirs, distributees, executors,
administrators, successors and assigns of the parties hereto but the foregoing provisions of this
Section shall not constitute a waiver of the provisions of Sections 1.11 and 1.12 above.


       Section 5.5.      Further Assurances.    The Mortgagor will, at the request of the Mortgagee
and at the cost and expense of the Mortgagor (a) promptly correct any defect, error or omission
which may be discovered in the contents of this Mortgage, or in the execution, acknowledgment
or recordation hereof, or (b) promptly do, execute, acknowledge and deliver any and all such
further acts,   deeds,    conveyances,    mortgages,     deeds    of trust,   amendments,   supplements,
assignments, estoppel certificates, financing statements and continuations thereof, notices of
assignment, transfers, certificates, assurances and other instruments as the Mortgagee may
reasonably require from time to time in order to (i) effectuate the purposes of this Mortgage,
(ii) subject to the lien and security interest hereby created any of the Mortgagor's properties,
rights or interests covered or now or hereafter intended to be covered hereby, (iii) perfect and
maintain such lien and security interest, or (iv) convey, grant, assign, transfer and confirm unto
the Mortgagee the rights granted or now or hereafter intended to be granted to the Mortgagee
hereunder or under any other instrument executed in connection with this Mortgage or which the
Mortgagor may be or become bound to convey, mortgage or assign to the Mortgagee in order to
carry out the intention or facilitate the performance of the provisions of this Mortgage. The
Mortgagor hereby appoints the Mortgagee as its attorney-in-fact to execute, acknowledge and
deliver for and in the name of the Mortgagor any and all of the instruments mentioned in this
Section 5.5 and this power, being coupled with an interest, shall be irrevocable as long as any
part of the Debt remedies unpaid.


       Section 5.6.      Captions.    The title of this document and the captions used herein are
inserted only as a matter of convenience and for reference and shall in no way define, limit or
describe the scope or intent of this Mortgage or any of the provisions hereof.




                                       009960-012/00205245-8Mortgage 49
  21-11298-lgb       Doc 24-5    Filed 08/19/21 Entered 08/19/21 15:22:12              Exhibit E
                                         Pg 51 of 56



        Section 5.7. Severability. If any tenn, covenant, condition or obligation of this Mortgage
shall be held to be invalid, illegal or unenforceable in any respect, this Mortgage shall be
construed without such term, covenant, condition or obligation.


        Section 5.8.   General Conditions, (a) No provision of this Mortgage may be waived,
changed, amended, modified or discharged orally and no executory agreement shall be effective
to modify or discharge it in whole or in part, unless it is in writing and signed by the party against
whom enforcement of the waiver, change, amendment, modification or discharge is sought.


               (b)     The Mortgagee may take or release other security for the payment of the
Loan, may release any party primarily or secondarily liable therefor and may apply any other
security held by it to the reduction or satisfaction of the Loan without prejudice to any of its
rights under this Mortgage.


               (c)     No remedy herein conferred upon or reserved to the Mortgagee is intended
to be exclusive of any other remedy or remedies, and each and every such remedy shall be
cumulative, and shall be in addition to every other remedy given hereunder or now or hereafter
existing at law or in equity or by statute. No delay or omission of the Mortgagee in exercising
any right or power accruing upon any Event of Default shall impair any such right or power, or
shall be construed to be a waiver of any such Event of Default, or any acquiescence therein.
Nothing in this Mortgage or in the Note shall affect the obligation of the Mortgagor to pay the
Debt in the manner and at the time and place therein respectively expressed.          All rights and
remedies of the Mortgagee shall be cumulative and may be exercised singly or concurrently.
Notwithstanding anything herein contained to the contrary, the Mortgagor: (i) will not (A) at any
time insist upon, or plead, or in any manner whatever claim or take any benefit or advantage of
any stay or extension or moratorium law, any exemption from execution or sale of the Mortgaged
Property or any part thereof, wherever enacted, now or at any time hereafter in force, which may
affect any of the tenns, covenants, conditions or obligations of this Mortgage, or (B) claim, take
or insist upon any benefit or advantage of any law now or hereafter in force providing for the
valuation or appraisal of the Mortgaged Property, or any part thereof, prior to any sale or sales
thereof which may be made pursuant to any provision hereof, or pursuant to the decree, judgment
or order of any court of competent jurisdiction; (ii) waives all benefit or advantage of any such
law or laws; (iii) covenants not to hinder, delay or impede the execution of any power herein
granted or delegated to the Mortgagee, but to suffer and permit the execution of every power as
though no such law or laws had been made or enacted; and (iv) waives all right to have the .
Mortgaged Property, or any other property of the Mortgagor to which the Mortgagee has, or may
in the future have, a claim, marshaled upon any foreclosure hereof.


               (d)     No waiver by the Mortgagee or modification of the terms hereof shall be
effective unless it is in writing and then only in the specific instance and for the specific purpose
for which given and, notwithstanding anything to the contrary herein, all such waivers and
modifications may be given or withheld in the sole judgment of the Mortgagee. Without limiting
the generality of the foregoing, any payment made by the Mortgagee for insurance premiums,

                                    009960-0 1 2/00205245-8Mortgage 50
  21-11298-lgb       Doc 24-5    Filed 08/19/21 Entered 08/19/21 15:22:12               Exhibit E
                                         Pg 52 of 56



taxes, assessments, water rates, sewer rentals, levies, fees or any other charges affecting the
Mortgaged Property, shall not constitute a waiver of the Mortgagor's default in making such
payments and shall not obligate the Mortgagee to make any further payments.           The Mortgagor
hereby irrevocably waives any right to claim that any provision of this Mortgage, including the
provisions set forth in this Subsection, have been waived orally or by the acts or omissions of the
Mortgagee.


               (e)     THE MORTGAGOR ACKNOWLEDGES THAT IT HAS RECEIVED A
TRUE COPY OF THIS MORTGAGE.


               (f)     If the Mortgagor shall request the Mortgagee's consent or approval
pursuant to any of the provisions of this Mortgage or otherwise, and the Mortgagee shall fail or
refuse to give, or shall delay in giving, such consent or approval, the Mortgagor shall in no event
make, or be entitled to make, any claim for damages (nor shall the Mortgagor assert, or be
entitled to assert, any such claim by way of defense, set-off, or counterclaim) based upon any
claim or assertion by the Mortgagor that the Mortgagee unreasonably withheld or delayed its '
consent or approval, and the Mortgagor hereby waives any and all rights that it may have, from
whatever source derived, to make or assert any such claim. The Mortgagor's sole remedy for any
such failure, refusal, or delay shall be an action for a declaratory judgment, specific performance,
or injunction, and such remedies shall be available only in those instances where the Mortgagee
has expressly agreed in writing not to unreasonably withhold or delay its consent or approval or
where, as a matter of law, the Mortgagee may not unreasonably withhold or delay the same.


               (g)     This Mortgage shall (i) be binding upon the Mortgagor and its successors
and assigns, and (ii) inure, together with all rights and remedies of the Mortgagee hereunder, to
the benefit of the Mortgagee and its successors, transferees and assigns.        Without limiting the
generality of clause (ii) of the immediately preceding sentence, the Mortgagee may assign or
otherwise transfer all or any portion of its rights and obligations under any Loan Document, to
any other person or entity, and such other person or entity shall thereupon become vested with all
of the rights and obligations in respect thereof granted to the Mortgagee herein or otherwise.
None of the rights or obligations of the Mortgagor hereunder may be assigned or otherwise
transferred without the prior written consent of the Mortgagee.


          .    (h)     (1)   Without limiting the generality of Subsection (g) above, the
Mortgagor hereby acknowledges that the Mortgagee may sell, grant or assign participation
interest(s) in the Loan and in the Mortgagee's rights and obligations in respect of the Loan
Documents, including this Mortgage, to one or more lending institutions satisfactory to the
Mortgagee, on terms satisfactory to the Mortgagee.         In the event that the Mortgagee shall sell,
grant or assign participation interest(s) in the Loan and in the Mortgagee's rights and obligations
in respect of the Loan Documents, (i) the Mortgagee may, in its sole discretion; disclose financial
and other information to prospective participant(s) with respect to the Mortgagor, (ii) the
Mortgagor shall cooperate with the Mortgagee in connection with any such, participation and
shall execute any and all documents which may be required or desirable, in the Mortgagee's or

                                    009960-0 12/00205245-8Mortgage 51
  21-11298-lgb         Doc 24-5     Filed 08/19/21 Entered 08/19/21 15:22:12               Exhibit E
                                            Pg 53 of 56



such participants' judgment, to effectuate any such participation(s), and (iii) each representation
and agreement made by the Mortgagor in this Mortgage or in any of the other Loan Documents
shall run to, and each reference to the Mortgagee shall be deemed to refer to, the Mortgagee and
all of its participants(s).


                         (2)      Any Lender that sells participations shall maintain, as a non-
fiduciary agent of the Borrower, a register on which it enters the name and the address of each
participant and the principal amounts (and stated interest) of each participant's participation
interest in the Loan, Debt and Note (or other rights or obligations) held by it (each, a "Participant
Register").    The entries in each Participant Register shall be conclusive, absent manifest error,
and such Lender shall treat each Person whose name is recorded in the Participant Register as the
owner of such participation interest as the owner thereof for all purposes notwithstanding any
notice to the contrary. Notwithstanding anything to the contrary contained in this agreement, the
Debt, Note and Loan made under this agreement are registered obligations and the right, title, and
interest of each participant and its assignees in and to such Loans, Debt and Note (or any rights
under this agreement) shall be granted or transferable only upon notation of such grant or transfer
in the Participant Register. In maintaining the Participant Register, such Lender shall be acting as
the non-fiduciary agent of the Borrower, solely for purposes of applicable United States federal
income tax law. Each Participant Register shall be available for inspection by the Borrower and
participants from time to time upon reasonable prior notice.             Borrower hereby authorizes each
Lender to obtain as its agent the applicable IRS Form W-9 or W-8 from each participant.


                 (i)     If the Mortgagor consists of more than one person or entity, the obligations
and liabilities of each such person or entity hereunder shall be joint and several. The relative
words herein of single or plural number, or masculine or feminine or neuter gender shall be read
as if written in the single or plural, or in the male, neuter or female gender, as the context and as
the case may be.


                 (j)     Any check, draft, money order or other instrument given in payment of all
or any portion of the Note or pursuant to this Mortgage may be accepted by the Mortgagee and
handled in collection in the customary manner, but the same shall not constitute payment
hereunder or diminish any rights of the Mortgagee, except to the extent that actual cash proceeds
of such instrument are unconditionally received by the Mortgagee and applied as the case may be
to the Debt in the manner provided in the Note or to the sum due under this Mortgage.


                 (k)     The Mortgaged Property is not improved nor is it to be improved by one or
more structures containing any residential units that are occupied by affiliates of the Mortgagor.


                 0)      If the Mortgagor shall well and truly pay to the Mortgagee the Debt at the
time and in the manner provided in the Note and this Mortgage and shall well and truly abide by
and comply with each and every term, covenant, condition and obligation set forth in this
Mortgage and in the Note, then these presents and the estate hereby granted shall cease, terminate
and be void.                                               ,

                                      009960-012/00205245-8Mortgage 52
  21-11298-lgb       Doc 24-5    Filed 08/19/21 Entered 08/19/21 15:22:12          Exhibit E
                                         Pg 54 of 56




               (m)     This Mortgage may be executed in any number of duplicate originals and
each such duplicate original shall be deemed to constitute but one and the same instrument.


               (n)       Upon Mortgagee's full receipt of the outstanding principal balance of
the Loan and the prepayment premium, if any, as provided for in the Note, the Mortgagee shall,
at Mortgagor's request, assign this Mortgage to a third party lender. In connection therewith, the
Mortgagee shall prepare and issue an assignment of mortgage (in recordable form to be filed in
the Bronx County Clerk's Office) and any other documentation required to effectuate the
assignment of the Mortgage; provided Mortgagor pays Mortgagee an assignment fee of
$1,000.00 and Mortgagee's attorney $2,000.00 for preparation of the foregoing assignment of
this Mortgage and any other costs and expenses incurred in connection with the filing and
recordation thereof.
                                [SIGNATURE PAGE TO FOLLOW]




                                   009960-0 12/00205245-8Mortgage 53
21-11298-lgb      Doc 24-5        Filed 08/19/21 Entered 08/19/21 15:22:12                 Exhibit E
                                          Pg 55 of 56




                                                   286 RIDER AVE ACQUISITION LLC



                                                   By:
                                                         Name: Toby Moskovits
                                                          Title:    Authorized Signatory




STATE OF NEW YORK             )
                              ) ss.:
COUNTY OF NEW YORK            )


       On the \^> day of September in the year 2019 before me, the undersigned, personally
appeared Toby Moskovits, personally known to me or proved to me on the basis of satisfactory
evidence to be the individual whose name is                   subscribed to the within instrument and
acknowledged to me that she executed the same in her capacity, and that by her signature on the
instrument, the individual, or the person on behalf of which the individual acted, executed the
instrument.




                                            otary Public
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                        /.Jv* STATE
                       £ O/'OF NEW YORK                   ^
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                                       009960-0 1 2/00205245-4Mortgage 53
  21-11298-lgb      Doc 24-5     Filed 08/19/21 Entered 08/19/21 15:22:12           Exhibit E
                                         Pg 56 of 56



                                              SCHEDULE A


                                            Legal Description


All that certain plot, piece or parcel of land, situate, lying and being in the Borough of Bronx,
County of Bronx, City and State of New York, bounded and described as follows:


BEGINNING at the corner fonned by the intersection of the northerly side of East 139th Street
and the easterly side of Rider Avenue;


RUNNING THENCE northerly along the easterly side of Rider Avenue, 175.58 feet;


THENCE easterly on a line at right angles to the easterly side of Rider Avenue, 1 10.48 feet;


THENCE southerly on a line parallel to the easterly side of Rider Avenue, 208.73 feet to the
northerly side of East 139th Street;


THENCE westerly along the northerly side of 139th Street, 115.35 feet to the point or place of
BEGINNING.


Designated as Block 2333, Lot 33, Bronx County and also known as 286 Rider Avenue, Bronx,
NY 10451.




                                       009960-012/00205245-8Mortgage 55
